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 8 Attorneys for Plaintiffs
         Plum Healthcare Group, LLC; GI Plum
 9       Holdco, LLC; and Quince Holdings, LLC
         dba Pueblo Springs Rehabilitation Center
10
11                        UNITED STATES DISTRICT COURT
12                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
14 PLUM HEALTHCARE GROUP, LLC,                 )    CASE NO.     '15CV2747 W     MDD
   a California corporation; GI PLUM           )
15 HOLDCO, LLC, a Delaware limited             )    COMPLAINT FOR TORTIOUS
   liability company; and QUINCE               )    BREACH OF INSURANCE
16 HOLDINGS, LLC dba PUEBLO                    )    CONTRACT AND DEMAND FOR
   SPRINGS REHABILITATION                      )    JURY TRIAL
17 CENTER,                                     )
                                               )    [Compensatory and Punitive
18               Plaintiffs,                   )    Damages]
                                               )
19         v.                                  )    1.   Breach of Implied Covenant of
                                               )         Good Faith and Fair Dealing;
20 ONEBEACON PROFESSIONAL                      )
   INSURANCE, a Bermuda corporation;           )    2.   Declaratory Relief;
21 HOMELAND INSURANCE                          )
   COMPANY OF NEW YORK, a                      )    3.   Breach of Contract
22 Minnesota corporation; and DOES 1           )
   through 30,                                 )
23                                             )
                 Defendants.                   )
24                                             )
25
26         Plaintiffs, by their attorneys, bring this action on behalf of themselves, and
27   hereby allege as follows:
28   ///
                                              -1-
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 1                            DEMAND FOR JURY TRIAL
 2         1.     Plaintiffs hereby demand a trial by jury.
 3                            JURISDICTION AND VENUE
 4         2.     This Court has jurisdiction under 28 U.S.C. §1332(a)(1). Plaintiff
 5   PLUM HEALTHCARE GROUP, LLC (hereafter “PLUM HEALTHCARE”) is a
 6   California limited liability company with its principal place of business in San
 7   Marcos, California. Plaintiff GI PLUM HOLDCO, LLC (hereafter “GI PLUM”) is
 8   a Delaware limited liability company with its principal place of business in San
 9   Marcos, California. Plaintiff QUINCE HOLDINGS, LLC dba PUEBLO
10   SPRINGS REHABILITATION CENTER (hereafter “QUINCE HOLDINGS”) is
11   an Arizona limited liability company with its principal place of business in
12   Tucson, Arizona. PLUM HEALTHCARE, GI PLUM and QUINCE HOLDINGS
13   are referred to collectively hereafter as PLAINTIFFS.
14         3.     Defendant ONE BEACON PROFESSIONAL INSURANCE and
15   DOES 1 through 5 (hereinafter collectively “ONE BEACON”) are corporations
16   incorporated under the laws of Bermuda, with their principal place of business in
17   Minnesota, and are licensed to issue insurance policies in the state of California.
18   Defendant HOMELAND INSURANCE COMPANY OF NEW YORK and DOES
19   6 through 10 (hereinafter collectively referred to as “DEFENDANTS”) are
20   corporations incorporated under the laws of Minnesota, with their principal place
21   of business in New York, and are licensed to issue insurance policies in the state
22   of California. The amount in controversy exceeds the sum of $75,000, exclusive
23   of interest and costs.
24         4.     Venue is proper in this Court because the underlying “HARRIS
25   LAWSUIT” was filed in San Diego and the claim denial occurred in San Diego,
26   and one or more defendants either maintain executive offices in San Diego
27   County, conduct substantial business and transactions in San Diego County,
28   and/or because defendants have received substantial compensation from the sales
                                              -2-
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 1   of liability insurance policies in this County by doing business here, all of which
 2   had an effect in this County.
 3         5.     PLAINTIFFS are ignorant of the true names and capacities of the
 4   defendants sued herein as DOES 1 through 30, inclusive, and therefore sue such
 5   defendants by such fictitious names. PLAINTIFFS allege said DOE defendants
 6   are additional insurers who provided insurance coverage to PLAINTIFFS during
 7   the relevant time period and had a duty to defend and indemnify PLAINTIFFS as
 8   insureds, additional insureds and/or an intended beneficiary of the claims against
 9   them. PLAINTIFFS will amend this Complaint to allege their true names and
10   capacities when the same have been ascertained. PLAINTIFFS are informed and
11   believe and upon such information and belief allege that each of the fictitiously
12   named defendants are sued as principals, representatives, shareholders, agents,
13   servants, and/or employees and were at all times herein mentioned acting within
14   the course and scope of the aforesaid relationships, in concert and with the
15   authorization, consent and ratification of all other defendants.
16         6.     PLAINTIFFS are informed and believe and upon such information
17   and belief allege that at all times herein mentioned DEFENDANTS, and each of
18   them, were the principals, representatives, shareholders, agents, servants, and/or
19   employees of the remaining defendants, and were at all times acting within the
20   purpose and scope of the aforesaid relationships, in concert and with the
21   authorization, consent and ratification of all the other defendants.
22                              FIRST CAUSE OF ACTION
23             (BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS -
           FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH
24         AND FAIR DEALING - FAILURE TO DEFEND AND INDEMNIFY)
25         7.     PLAINTIFFS refer to and incorporate herein by reference the
26   allegations set forth in paragraphs 1 through 6 above, as though set forth in full
27   herein.
28   ///
                                              -3-
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 1         8.     On or about August 4, 2014, DEFENDANTS issued a written
 2   insurance contract (No. LTC-6366-14) to plaintiff GI PLUM HOLDCO, LLC and
 3   its subsidiaries listed on Endorsement 2 of the policy as named insureds
 4   (hereinafter referred to as the “POLICY”). A copy of the POLICY is attached
 5   hereto as Exhibit A, and is incorporated herein by reference.
 6         9.     The POLICY promised to provide all PLAINTIFFS with a broad
 7   range of insurance protection, including the specific promise of “General Liability
 8   Insurance,” covering PLAINTIFFS against “any loss which the Insured is legally
 9   obligated to pay as a result of a covered claim alleging Bodily Injury...” Further,
10   the POLICY agreed to provide indemnity protection up to $1,000,000 for each
11   claim for General Liability. Additionally, per the terms of the General Liability
12   Coverage under subsection (F), DEFENDANTS agreed and promised to provide
13   PLAINTIFFS with “Defense and Supplementary Payments” as follows:
14         (F)    Defense and Supplementary Payments:
15                The Underwriter has the right and the duty to defend any Claim that is
16                covered by INSURING AGREEMENTS (A), (B), and (C) of this
17                Policy, even if any of the allegations of such Claim are groundless,
18                false or fraudulent. In addition to the Limits of Liability for
19                INSURING AGREEMENTS (A), (B), and (C), the Underwriter will
20                pay Defense Expenses and will: . . . (Emphasis added.)
21         10.    During the term of the POLICY, PLAINTIFFS were sued by Janice
22   Harris for “bodily injury” losses she claimed were caused by the negligence of
23   PLAINTIFFS herein, as well as others (hereinafter referred to as the “HARRIS
24   LAWSUIT” or “INJURY CLAIM.”)
25         11.    PLAINTIFFS tendered the HARRIS LAWSUIT to DEFENDANTS
26   for a legal defense and indemnity under the terms of DEFENDANTS’ General
27   Liability Coverage. On or about December 9, 2014, DEFENDANTS sent
28   PLAINTIFFS a letter expressly denying PLAINTIFFS any insurance protection or
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 1   coverage for Legal Defense or Indemnity of the HARRIS LAWSUIT. Thereafter,
 2   DEFENDANTS repeatedly and continuously refused to undertake PLAINTIFFS’
 3   defense in the HARRIS LAWSUIT or provide any insurance benefits
 4   DEFENDANTS promised in the POLICY.
 5         12.    DEFENDANTS’ refusal to defend and/or indemnify PLAINTIFFS
 6   for the HARRIS LAWSUIT was wrongful and in violation of the express promises
 7   of insurance protection which PLAINTIFFS paid for in purchasing the POLICY.
 8         13.    DEFENDANTS, and each of them, breached their duty of good faith
 9   and fair dealing owed to PLAINTIFFS regarding their duty to provide a legal
10   defense and indemnity in at least the following respects:
11                (a)   DEFENDANTS denied coverage to PLAINTIFFS, claiming
12   that the HARRIS LAWSUIT was excluded under Exclusion (D)(7) as a claim by
13   an “Insured against another current or former Insured.” DEFENDANTS at all
14   times knew that Ms. Harris could not be an “Insured” for purposes of Exclusion
15   (D)(7) if at the time of her injury she was not acting within the capacity and scope
16   of her duties to the named insureds. The HARRIS LAWSUIT expressly alleged at
17   paragraph 22 of the complaint that Ms. Harris’ injuries “occurred outside the
18   scope of her employment as Quince’s Director of Nursing.” As such,
19   DEFENDANTS knew that Ms. Harris was not an “Insured” for purposes of
20   Exclusion (D)(7) at the time of her injury if these allegations were true, and that
21   DEFENDANTS’ express duty to defend PLAINTIFFS was not excused under
22   Exclusion (D)(7). Therefore, DEFENDANTS knew that at least a “potential” for
23   coverage existed which required DEFENDANTS to defend PLAINTIFFS against
24   the HARRIS LAWSUIT and its allegations;
25                (b)   DEFENDANTS and their employees and representatives who
26   handled the INJURY CLAIM knew or should have known that under California
27   law, a claim for legal defense cannot be denied if any “potential for coverage”
28   existed and that insurers such as DEFENDANTS owed their insureds such as
                                              -5-
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 1   PLAINTIFFS a duty to look for coverage for the HARRIS LAWSUIT.
 2   DEFENDANTS failed and refused to look for coverage of the HARRIS
 3   LAWSUIT and only looked for reasons to deny PLAINTIFFS’ claim for benefits;
 4                (c)   After PLAINTIFFS protested DEFENDANTS’ refusal to
 5   defend and indemnify the HARRIS LAWSUIT, DEFENDANTS raised a second
 6   excuse for refusing to defend PLAINTIFFS. DEFENDANTS raised Exclusion
 7   (B)(9) which excludes claims for bodily injury if the injury arises out of the “use
 8   of a motor vehicle.” But DEFENDANTS refused to consider the fact that
 9   Exclusion (B)(9) contained an “exception” for “non-owned motor vehicles,”
10   which required DEFENDANTS to defend and indemnify as excess coverage over
11   any other insurance, whether collectible or not. DEFENDANTS at all times knew
12   that the motor vehicle involved in the HARRIS LAWSUIT was a “non-owned
13   vehicle”, thereby rendering DEFENDANTS’ Exclusion (B)(9) questionable and
14   inapplicable to the INJURY CLAIM. DEFENDANTS knew that no other
15   collectible motor vehicle insurance coverage existed, meaning DEFENDANTS
16   were the primary insurance coverage for the INJURY CLAIM;
17                (d)   When DEFENDANTS denied PLAINTIFFS’ claim for a legal
18   defense and indemnity, DEFENDANTS did not have facts showing that either
19   Exclusion (D)(7) or (B)(9) conclusively applied to PLAINTIFFS’ claim, yet
20   DEFENDANTS denied coverage anyway;
21                (e)   DEFENDANTS knew or reasonably should have known that
22   they were required to defend PLAINTIFFS, even on claims that were “groundless,
23   false or fraudulent,” in addition to those that were potentially covered.
24   DEFENDANTS ignored the potential that the HARRIS LAWSUIT’s allegations
25   of Ms. Harris being injured “outside the course and scope of her employment”
26   might be true, which would negate DEFENDANTS’ Exclusion (D)(7) and create a
27   potential for coverage, thereby obligating DEFENDANTS to defend and
28   indemnify PLAINTIFFS;
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 1                (f)   DEFENDANTS failed to reasonably and promptly investigate
 2   PLAINTIFFS’ claim for legal defense benefits by refusing to defend immediately
 3   while at the same time DEFENDANTS engaged in a purported investigation that
 4   was really a search for excuses to avoid their contractual obligation to immediately
 5   defend their insureds;
 6                (g)   DEFENDANTS failed to provide PLAINTIFFS with a legal
 7   defense against the claims asserted in the HARRIS LAWSUIT at a time when
 8   DEFENDANTS had insufficient information within their possession to justify said
 9   action;
10                (h)   DEFENDANTS failed to provide PLAINTIFFS with a legal
11   defense and indemnity against the claims asserted in the HARRIS LAWSUIT
12   without obtaining all necessary information bearing on PLAINTIFFS’ request for
13   a defense;
14                (I)   DEFENDANTS misrepresented to PLAINTIFFS pertinent facts
15   and policies and provisions relating to the POLICY, including but not limited to
16   DEFENDANTS failing and refusing to defend PLAINTIFFS and asserting that no
17   coverage was available under the POLICY, when, in fact, coverage did exist;
18                (j)   DEFENDANTS failed to reasonably and promptly investigate
19   and process PLAINTIFFS’ claims for a legal defense and indemnity;
20                (k)   DEFENDANTS did not attempt in good faith to effectuate a
21   prompt, fair and equitable settlement of the allegations against PLAINTIFFS in
22   the HARRIS LAWSUIT and/or PLAINTIFFS’ claim for a legal defense against
23   the HARRIS LAWSUIT in which liability had become reasonably clear;
24                (l)   DEFENDANTS failed to provide a reasonable explanation of
25   the basis relied upon in the POLICY, in relation to the applicable facts, for the
26   denial of PLAINTIFFS’ request for a legal defense against and indemnity of the
27   HARRIS LAWSUIT;
28   ///
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 1                    (m)   PLAINTIFFS are informed and believe and thereon allege that
 2   DEFENDANTS breached their duty of fair dealing and good faith owed to
 3   PLAINTIFFS regarding the duty to defend and/or indemnify PLAINTIFFS by
 4   other acts or omissions of which PLAINTIFFS are presently unaware.
 5   PLAINTIFFS will seek leave of court to amend this Complaint at such time as
 6   PLAINTIFFS discover the other acts or omissions of said DEFENDANTS
 7   constituting such breach.
 8          14.       The conduct as alleged against DEFENDANTS, and each of them, as
 9   set forth herein was unreasonable under the circumstances and a breach of the
10   POLICY.
11          15.       As a proximate result of the aforementioned wrongful conduct of
12   DEFENDANTS, and each of them, PLAINTIFFS have suffered, and will continue
13   to suffer in the future, damages under said POLICY, including but not limited to:
14   (a) attorneys’ fees and costs and settlement payments incurred to defend against
15   the claims in the HARRIS LAWSUIT; (b) costs to investigate the claims asserted
16   in the HARRIS LAWSUIT, including consultant and expert fees and other
17   expenses; (c) attorneys’ fees and costs to obtain benefits owed under the POLICY,
18   to defend against and settle the HARRIS LAWSUIT, and to prosecute this action;
19   and (d) other damages, together with interest, in an amount to be proven at the
20   time of trial.
21          16.       DEFENDANTS engaged in despicable conduct as described herein
22   which was done with a conscious disregard of PLAINTIFFS’ rights and with the
23   intent to vex, injure or annoy PLAINTIFFS, such as to constitute oppression, fraud
24   or malice under California Civil Code Section 3294, entitling PLAINTIFFS to
25   punitive damages in an amount appropriate to punish or set an example of
26   DEFENDANTS, and each of them.
27   ///
28   ///
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 1                            SECOND CAUSE OF ACTION
 2               (BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS -
                           FOR DECLARATORY RELIEF)
 3
 4         17.    PLAINTIFFS refer to and incorporate herein by reference the
 5   allegations set forth in paragraphs 1 through 15 above, as though set forth in full
 6   herein.
 7         18.    Pursuant to the terms of the POLICY, PLAINTIFFS contend they
 8   were and are entitled to a defense against and indemnity of the claims asserted
 9   against PLAINTIFFS in the HARRIS LAWSUIT. PLAINTIFFS have submitted
10   all necessary documents and information to DEFENDANTS, and each of them, to
11   support their request for a defense and indemnification.
12         19.    An actual controversy exists between PLAINTIFFS and
13   DEFENDANTS, and each of them, in that PLAINTIFFS contend they were and
14   are entitled to a defense against and indemnity of the claims asserted in the
15   HARRIS LAWSUIT, and the settlement paid by PLAINTIFFS. DEFENDANTS,
16   and each of them, have repeatedly denied PLAINTIFFS’ claims for benefits under
17   the POLICY.
18         20.    PLAINTIFFS request a judicial declaration of the rights of all parties
19   pursuant to the terms and conditions of the POLICY, and further request a judicial
20   declaration that PLAINTIFFS were and are entitled to benefits under the terms of
21   the POLICY, including but not limited to, defense against and indemnity of the
22   claims asserted in the HARRIS LAWSUIT.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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  1
                                THIRD CAUSE OF ACTION
  2
                  (BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS -
  3             FOR BREACH OF CONTRACT - FAILURE TO DEFEND AND
                             FAILURE TO INDEMNIFY)
  4
  5         21.    PLAINTIFFS refer to and incorporate herein by reference the
  6   allegations set forth in paragraphs 1 through 15 above, as though set forth in full
  7   herein.
  8         22.    The POLICY of insurance described in paragraphs 1 through 15
  9   above was a written contract between PLAINTIFFS and DEFENDANTS.
 10         23.    PLAINTIFFS have complied with, or are excused from complying
 11   with, all conditions precedent to their entitlement to a defense and indemnity
 12   under the POLICY.
 13         24.    DEFENDANTS, and each of them, had an independent duty, under
 14   the terms of the POLICY, to investigate the claims made and allegations asserted
 15   in the HARRIS LAWSUIT. DEFENDANTS, and each of them, had a duty, under
 16   the terms of the POLICY, to defend and indemnify PLAINTIFFS against the
 17   claims made and allegations asserted in the HARRIS LAWSUIT.
 18         25.    DEFENDANTS, and each of them, breached their contract of
 19   insurance with PLAINTIFFS by failing and/or refusing to investigate adequately
 20   and completely the claims and allegations made against the PLAINTIFFS, and by
 21   failing and/or refusing to provide PLAINTIFFS with a defense against and
 22   indemnity of the HARRIS LAWSUIT, despite repeated requests to do so by
 23   PLAINTIFFS.
 24         26.    As a proximate and legal result thereof, PLAINTIFFS have sustained
 25   damages, including but not limited to, attorneys’ fees and costs, investigation
 26   costs, consultant fees, experts’ fees, costs associated with settling the claims
 27   asserted in the HARRIS LAWSUIT against PLAINTIFFS, and other costs and
 28   ///
                                               -10-
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  1   expenses, together with interest thereon, the exact amount of which will be proven
  2   at the time of trial.
  3                                         PRAYER
  4          WHEREFORE, all PLAINTIFFS pray for judgment against all
  5   DEFENDANTS on their first cause of action as follows:
  6          1.     Damages for failure to provide benefits under the terms of the
  7   POLICY in an amount to be determined at the time of trial;
  8          2.     Attorneys’ fees and costs incurred to obtain insurance benefits;
  9          3.     Punitive and exemplary damages in an amount appropriate to punish
 10   or set an example of the DEFENDANTS;
 11          4.     For pre- and post-judgment interest;
 12          5.     For costs of suit incurred herein; and
 13          6.     For such other and further relief as the Court deems just and proper.
 14          WHEREFORE, all PLAINTIFFS pray for judgment against all
 15   DEFENDANTS on their second cause of action as follows:
 16          1.     A judicial declaration that PLAINTIFFS were and are entitled to
 17   benefits under the terms of the POLICY, including defense and indemnity benefits;
 18          2.     For costs of suit incurred herein; and
 19          3.     For such other and further relief as the Court deems just and proper.
 20          WHEREFORE, PLAINTIFFS, and each of them, pray for judgment against
 21   all DEFENDANTS on their third cause of action as follows:
 22          1.     Damages for failure to provide benefits under the terms of the
 23   POLICY in an amount to be determined at the time of trial;
 24          2.     Attorneys’ fees and costs incurred to obtain insurance benefits;
 25          3.     For pre- and post-judgment interest;
 26          4.     For costs of suit incurred herein; and
 27   ///
 28   ///
                                               -11-
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  1        5.    For such other and further relief as the Court deems just and proper.
  2
  3   Dated: December 8, 2015              THE HUVER LAW FIRM
  4
                                           By: s/ Richard A. Huver
  5                                            Richard A. Huver
                                               Email: rhuver@huverlaw.com
  6
  7
                                           By: s/ Harris I. Steinberg
  8                                            Harris I. Steinberg
                                               Email: harrissteinberg@gmail.com
  9
                                                   Attorneys for Plaintiffs
 10                                                Plum Healthcare Group, LLC; GI
                                                   Plum Holdco, LLC; and Quince
 11                                                Holdings, LLC dba Pueblo Springs
                                                   Rehabilitation Center
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                         TABLE OF EXHIBITS


Exhibit A     OneBeacon Professional Insurance Long Term     Pages 13-78
              Care - Primary Policy, GI Plum Holdco, LLC;
              Account No: 8697; Policy No: LTC-6366-14
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                                           onebeaconpro.com




                RE:   Long Term Care - Primary
                      GI Plum Holdco, LLC
                                                                                           Policy
                

                Account No: 8697            Policy No: LTC-6366-14




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OneBeacon Professional Insurance Medical Professional and General Liability
                       Claim Reporting Guidelines

Following are examples of the types of events that should be reported in accordance
with the general conditions regarding Reporting of Claims, Occurrences and
Circumstances under your One Beacon policy:

   •   Medication errors resulting in injury and/or requiring further treatment (including
       patient not receiving medication; receiving incorrect dosage of medication; or
       receiving wrong medication)
   •   Falls resulting in injury
   •   Family/Patient complaints of inadequate care resulting in injury
   •   Events reported to the state Dept of Health, other regulatory body or police
   •   Visitor injuries
   •   Unexpected death
   •   Serious injury (including, but not limited to, paraplegia; quadriplegia; or severe
       neurological impairment)
   •   Elopement
   •   Allegations of physical or sexual abuse
   •   Sentinel events
   •   Oral or written demands for damages
   •   Lawsuits
   •   Communication from an attorney regarding any of the events noted above
   •   Request from an attorney for medical records
   •   Any other event the Insured reasonably believes could result in a Claim under
       the policy

The above list of events is not meant to be exhaustive or exclusive. Nothing
contained in or omitted from this document should be deemed a waiver of
any terms or conditions of any applicable policy. These guidelines are
provided for general informational purposes only and should not be
considered or relied upon as coverage, legal or risk-management advice.
Readers should consult the specific terms of their policy and their own legal
counsel for advice.

Please report all claims and reportable events to:

Chief Claims Officer
OneBeacon Professional Insurance
199 Scott Swamp Road
Farmington, CT 06032
877.256.5067 (fax)
obpiclaims@onebeaconpro.com




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 Homeland Insurance Company of New York
 One Beacon Lane
 Canton, MA 02021
 (hereinafter referred to as the “Underwriter”)

                                                      Policy Number: LTC-6366-14

                                           DECLARATIONS

                             LONG TERM CARE ORGANIZATIONS
                 PROFESSIONAL LIABILITY, GENERAL LIABILITY AND EMPLOYEE
                  BENEFIT LIABILITY POLICY, INCLUDING LEGAL/MEDIA AND
                          EVACUATION EXPENSE REIMBURSEMENT

PORTIONS OF THIS POLICY PROVIDE CLAIMS MADE AND REPORTED COVERAGE, WHICH
APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
PERIOD OR AN APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED IN
ACCORDANCE WITH THIS POLICY’S REPORTING PROVISIONS. PLEASE READ THIS POLICY
CAREFULLY.

ITEM 1.        FIRST NAMED INSURED:                     ITEM 2.    POLICY PERIOD:

Name and Principal Address:                             (a) Inception Date: August 4, 2014
GI Plum Holdco, LLC                                     (b) Expiration Date: August 4, 2015
100 E San Marcos Blvd Ste 200                           Both dates at 12:01 a.m. at the
San Marcos, CA 92069                                    Principal Address in ITEM 1.


ITEM 3.        COVERAGE/TYPE/RETROACTIVE DATE(S)
               Coverage                Type                          Retroactive Date

  A.   Healthcare Professional Liability   Claims Made             Various
  B.   General Liability                   Claims Made             Various
  C.   Employee Benefit Liability          Claims Made             Various
  D.   Evacuation Expense                  Expense Reimbursement   Not Applicable
  E.   Legal/Media Expense                 Expense Reimbursement   As Per Insuring Agreement (A)

ITEM 4.        LIMIT(S) OF LIABILITY; DEDUCTIBLE/SELF-INSURED RETENTION

A.     Healthcare Professional Liability
          Each Claim………………………………………………………………$1,000,000
          Aggregate for all Claims……………………………………………$3,000,000
          Deductible X      Self-Insured Retention
                  Per Claim……………………………………………………..$250,000
                  Aggregate……………………………………………………$5,000,000
B.     General Liability
          Each Claim…………………………….……………………………… $1,000,000
          Products and Completed Operations Hazard………………………..INCLUDED
          Damage to Rented Premises…………………………………….$50,000
          Aggregate for all Claims……....………………………………… $3,000,000
          Deductible X     Self-Insured Retention
                  Per Claim……………………………………………………..$250,000
                  Aggregate…………………………………………………….$5,000,000



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C.    Employee Benefit Liability
         Each Claim…………………………………………………………….$1,000,000
         Aggregate for all Claims………………………………………….$3,000,000
         Deductible X     Self-Insured Retention
                Per Claim……………………………………………………$1,000
                Aggregate………………………………………………….N/A
D.    Evacuation Expense
         Each Evacuation………………….………………………………..$100,000
         Aggregate for all Evacuations…..…………………………….$100,000

E.    Legal/Media Expense
         Each Legal Defense Proceeding………………….…………..$100,000
         Aggregate for all Legal Defense Proceedings……..…….$100,000

ITEM 5.       PREMIUM

A. Policy Premium: $3,125,000

B.    Minimum Earned Premium: 25% of Policy Premium shown above.

 X This Policy provides coverage for acts of terrorism as defined in the Terrorism Risk Insurance
    Act of 2002 (the “Act”). The premium attributable to this coverage is $0.00.

     This Policy specifically excludes coverage for acts of terrorism as defined in the Act.

ITEM 6.       ALL NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER GENERAL
              CONDITION (C) OF THE POLICY MUST BE ADDRESSED TO:

              Chief Claims Officer
              OneBeacon Professional Insurance
              199 Scott Swamp Road
              Farmington, CT 06032
              obpiclaims@onebeacon.com

              ALL OTHER NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER
              THIS POLICY MUST BE ADDRESSED TO:

              OneBeacon Professional Insurance
              199 Scott Swamp Road
              Farmington, CT 06032

ITEM 7.       POLICY FORM AND ENDORSEMENTS ATTACHED AT ISSUANCE:
              HPF-20002-02-09
               HPE-00006-07-08 Medical Expenses for Bodily Injury
               HPE-20004-03-09 Separate Limits for Scheduled Named Insureds and Policy Aggregate
               Limit Endorsement
               HPE-20006-03-09 Coverage Enhancements Endorsement
               HPE-00017-07-08 Additional Insured Mortgagee Landlord or Lessor
               HPE-2PLUM-11-10 Amend Claims Made Trigger on Renewal
               HPE-STDV-02-10 Amounts Paid Within Deductible Will
               HPE-20001-03-09 Additional Insured
               HPE-00032-08-09 Blanket Waiver of Subrogation - Insuring Agreement (B) Only
               HPE-00008-07-08 Additional Insured Endorsement - GL Only
               HPE-20028-10-10 Amend Section III Exclusion (B)(4)

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              HPE-20002-03-09 Schedule A- Named Insured
              HPE-00064-07-11 Notice of Cancellation to Scheduled Party
              HPE-20013-03-09 Limit Coverage to General Liability Only for Specified Insured
              Location(s) Endorsement
              HPE-00039-08-09 Front Loss Only Within Deductible Endorsement
              HPE-00062-04-11 Additional Named Insured - Related to Original Named Insured
              HPE-00037-08-09 Maintenance Deductible
              HPE-20039-12-10 Additional Insured-Primary and Noncontributory (GL)

These Declarations, the completed signed Application, and the Policy (together with any and all
endorsements thereto) shall constitute the entire agreement between the Underwriter and the
Insured(s).




  Homeland Insurance Company of New York
  By:




 _________________________________________________                        August 1, 2014
 Its Authorized Representative                                            Date:




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                                        ENDORSEMENT NO. 1
                          MEDICAL EXPENSES FOR BODILY INJURY ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

      Policy No.        LTC-6366-14
      Issued to         GI Plum Holdco, LLC
      Issued by         Homeland Insurance Company of New York

In consideration of the premium charged:

(1)     Solely with respect to the coverage afforded under INSURING AGREEMENT (B) of this Policy and
        subject to the terms and conditions set forth in this endorsement, it is understood and agreed
        that the Underwriter will pay on behalf of the Insured Medical Expenses (as defined below)
        for Bodily Injury caused by an accident:

        (a)        on premises owned or rented by the Named Insured;

        (b)        on ways adjacent to premises owned or rented by the Named Insured; or

        (c)        because of the operations of the Named Insured;

        provided that:

        (i)        such accident takes place in the coverage territory and during the Policy Period;

        (ii)       Medical Expenses are incurred and reported to the Underwriter within one year of the
                   date of the accident; and

        (iii)      the injured person submits to examination, as often as required by the Underwriter, by
                   physicians of the Underwriter’s choice and at the expense of the Underwriter.

(1)     Solely with respect to the coverage afforded by this endorsement, “Medical Expenses” means
        reasonable payments for:

        (a)        first aid administered at the time of an accident;

        (b)        necessary medical, surgical, x-ray and dental services, including prosthetic devices; and

        (c)        necessary ambulance, hospital, professional medical and nursing, and funeral services.

(3)     In addition to, and not in limitation of, Section III EXCLUSIONS of this Policy, no coverage will be
        available under this Policy for Medical Expenses for Bodily Injury sustained by:

        (a)        any Insured;

        (b)        any person hired to do work for or on behalf of any Insured or tenant of any Insured;

        (c)        any person injured on that part of premises owned or rented by the Named Insured
                   that the person normally occupies;




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        (d)     any person, whether or not an Employee of any Insured, if benefits for such Bodily
                Injury are payable or must be provided under workers’ compensation or disability
                benefits or a similar law; or

        (e)     any person injured while engaging in athletic activities.

(4)     The Underwriter’s maximum limit of liability for Medical Expenses for Bodily Injury caused by
        accidents, as set forth in paragraph (1) of this endorsement, is $5,000 for each person per
        accident. Notwithstanding the foregoing, in no event shall the Underwriter’s maximum obligation
        to pay Medical Expenses on behalf of the Insured exceed $25,000. Such amounts shall be
        part of, and not in addition to, the Underwriter’s maximum aggregate Limit of Liability for
        INSURING AGREEMENT (B) of this Policy, as set forth in ITEM 4.B. of the Declarations.

(5)     Notwithstanding anything to the contrary contained in this Policy, no deductible or self-insured
        retention shall apply to the coverage afforded under this endorsement for Medical Expenses
        for Bodily Injury caused by an accident.

(6)     Solely with respect to the coverage afforded under this endorsement, the term “Loss,” as
        defined in Section II DEFINITIONS of this Policy, is amended to include Medical Expenses for
        Bodily Injury caused by an accident.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                 ENDORSEMENT NO. 2
SEPARATE LIMITS FOR SCHEDULED NAMED INSUREDS AND POLICY AGGREGATE LIMIT ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

        Policy No.       LTC-6366-14
        Issued to        GI Plum Holdco, LLC
        Issued by        Homeland Insurance Company of New York

In consideration of the premium charged:

(1)       Notwithstanding Section IV GENERAL CONDITIONS (A) and any other provision to the contrary in
          this Policy, it is understood and agreed that, subject to paragraphs (2), (3) and (4) of this
          endorsement, the “Each Claim” and “Aggregate for all Claims” Limits of Liability for INSURING
          AGREEMENTS (A), (B) and (C) of this Policy and the “Fire Damage” Limit of Liability for
          INSURING AGREEMENT (B) of this Policy, as set forth in ITEM 4 of the Declarations, shall apply:

          (a)        separately to each of the following Named Insureds (including the natural person
                     Insureds thereof):

                     Named Insureds with Separate Limits:

      Ash Holdings, LLC dba Redlands Healthcare Center
      Birch Holdings, LLC dba University Care Center
      Cedar Holdings, LLC dba Highland Palms Healthcare Center
      Douglas Fir Holdings, LLC dba Huntington Valley Healthcare
      Elm Holdings, LLC dba La Mesa Healthcare Center
      Fig Holdings, LLC dba Garden City Healthcare Center
      Italian Maple Holdings, LLC dba La Paloma Healthcare Center
      Jeffrey Pines Holding, LLC dba Villa Las Palmas Healthcare
      Golden Oak Holdings, LLC dba Vasona Creek Healthcare Center
      Hawthorne Holdings, LLC dba White Blossom Care Center
      KOA Holdings, LLC dba Cottonwood Canyon Healthcare Center
      Lilac Holdings, LLC dba Reo Vista Healthcare Center
      Applewood Operating Company, LLC dba Copper Ridge Healthcare Center
      Magnolia Holdings, LLC dba Oak River Rehab
      Norway Maple Holdings, LLC dba Crystal Cove Care Center
      Olive Holdings, LLC dba Alviara Rehab
      Poplar Holdings, LLC dba Poway Rehab
      Quince Holdings, LLC dba Pueblo Springs Rehabilitation Center fka Valley Health Care and Rehabilitation
      Spruce Holdings, LLC dba Visalia Nursing and Rehabilitation Center
      Tulip Tree Holdings, LLC dba Mt. Olympus Rehabilitation Center fka Wasatch Valley Rehabilitation
      Viburnum Holdings, LLC dba Spring Creek Healthcare Center
      Green Farm Holdings, LLC
      Ulmus Holdings, LLC dba Rock Creek Care Center
      Walnut Holdings, LLC dba Desert Blossom Health & Rehabilitation Center
      Honeyflower Holdings, LLC dba Arlington Gardens Care Center
      Ixia Holdings, LLC dba Bishop Care Center
      Kerria Holdings, LLC dba Westview Healthcare Center
      Rosebud Holdings, LLC dba Western Slope Health Center
      Aloe Holdings, LLC dba Auburn Oaks Care Center
      Aster Holdings, LLC dba Four Corners Regional Care Center



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      Bluebell Holdings, LLC dba Wolf Creek Care Center
      Oleander Holdings, LLC dba Sacramento Sub-Acute
      Lily Holdings, LLC dba Oakwood Gardens Care Center
      Windflower Holdings, LLC dba Rocky Point Care Center
      Violet Holdings, LLC dba Lincoln Meadows Care Center
      Snowdrop Holdings, LLC dba Linwood Meadows Care Center
      Flax Holdings, LLC dba River Valley Care Center
      Azalea Holdings, LLC dba McKinley Park Care Center
      Edelweiss Holdings, LLC dba Crystal Ridge Care Center
      Marjoram Holdings, LLC dba Cypress Ridge Care Center
      Petunia Holdings, LLC dba Napa Valley Care Center
      Begonia Holdings, LLC dba Parkdale Helath & Rehab
      Gladiolus Holdings, LLC dba The Pines at Placerville Healthcare Center
      Camellia Holdings, LLC dba Red Cliffs Health & Rehab
      Crocus Holdings, LLC dba Roseville Care Center
      Daffodil Holdings, LLC dba Sandy Health & Rehab
      Jonquil Holdins, LLC dba Davis healthcare Center
      Daisy Holdings, LLC dba Pine Creek Care Center
      Nightshade Holdings, LLC dba Redwood Cove Healthcare Center
      Queen Ann’s Lace Holdings, LLC dba Whitney Oaks Care Center
      Thyme Holdings, LLC dba Westgate Gardens Care Center
      White Fir Holdings, LLC dba Midtown Oaks Post Acute
      Pepperbush Holdings, LLC dba San Diego Post-Acute Center



                  and

          (b)     on a shared basis for all other Insureds.

(2)       In no event shall the Underwriter’s Limit of Liability in connection with any single Claim or
          Related Claim exceed the applicable “Each Claim” Limit of Liability set forth in ITEM 4 of the
          Declarations, regardless of the number of Insureds named in such Claim or Related Claim.

(3)       In no event shall the Underwriter’s Limit of Liability for all Property Damage resulting from any
          single fire caused by the Insured’s negligence and occurring on premises rented by the
          Insured or temporarily occupied by the Insured with the permission of the owner of such
          premises exceed the applicable “Fire Damage” Limit of Liability set forth in ITEM 4.B. of the
          Declarations, regardless of the number of Insureds renting or occupying such premises or the
          number of Insureds named in any Claim in connection with such fire.

(4)       The Underwriter’s “Maximum Aggregate Policy Limit of Liability” shall be $25,000,000. This
          amount shall be the Underwriter’s maximum aggregate Limit of Liability for all Loss resulting
          from all Claims and Related Claims for which coverage is provided under INSURING
          AGREEMENTS (A), (B) and (C) of this Policy. After the Underwriter’s “Maximum Aggregate Policy
          Limit of Liability” has been exhausted by the payment of Loss, the premium will be fully earned,
          all obligations of the Underwriter under INSURING AGREEMENTS (A), (B) and (C) of this Policy
          will be completely fulfilled and exhausted, including any obligation to pay Defense Expenses or
          to continue to direct the defense of any Insured, and the Underwriter will have no further
          obligations of any kind or nature whatsoever under such INSURING AGREEMENTS.

All other terms, conditions and limitations of this Policy shall remain unchanged.



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                                        ENDORSEMENT NO. 3
                               COVERAGE ENHANCEMENTS ENDORSEMENT

  This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

        Policy No.       LTC-6366-14
        Issued to        GI Plum Holdco, LLC
        Issued by        Homeland Insurance Company of New York

  In consideration of the premium charged:

  A.      MEDICAL ADVERTISING WRONGFUL ACT SUBLIMIT

  (1)     The Underwriter’s maximum Limit of Liability for all Loss resulting from each Claim or
          Related Claims for a Medical Advertising Wrongful Act (as defined below) shall be
          $100,000, and the Underwriter’s maximum aggregate Limit of Liability for all Loss
          resulting from all Claims or Related Claims for Medical Advertising Wrongful Acts
          shall be $100,000, which amounts shall be part of, and not in addition to, the “Aggregate
          for all Claims” Limit of Liability stated in ITEM 4.A. of the Declarations.

  (2)     Section II DEFINITIONS of this Policy is amended to include the following term:

                     “Medical Advertising Wrongful Act” means any actual or alleged false,
                     incorrect or misleading publication by the Named Insured concerning the type,
                     scope or quality of Medical Services offered by the Named Insured.

  (3)     The term “Professional Services Wrongful Act,” as defined in Section II DEFINITIONS
          of this Policy, is amended to include any Medical Advertising Wrongful Act.


  B.      HIPAA VIOLATION REIMBURSEMENT COVERAGE

  (1)     In addition to the coverage afforded under INSURING AGREEMENTS (A), (B), (C), (D) and
          (E) of this Policy, upon satisfactory proof of payment by the Named Insured, the
          Underwriter will reimburse the Named Insured, up to the Limit of Liability set forth in
          paragraph B.(4) below, for HIPAA Fines and Penalties actually paid by the Named
          Insured resulting from a HIPAA Violation that occurs during the Policy Period.

  (2)     Section II DEFINITIONS of this Policy is amended to include the following terms:

                     “HIPAA Fines and Penalties” means any fines and/or penalties imposed upon
                     an Insured under Title II of the Health Insurance Portability and Accountability
                     Act.

                     “HIPAA Violation” means any violation by an Insured of Title II of the Health
                     Insurance Portability and Accountability Act.

  (3)     Solely with respect to the coverage afforded under paragraph B.(1) above, clause (3) of
          the term “Loss,” as defined in Section II DEFINITIONS of this Policy, is amended to read
          in its entirety as follows:




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                (3)     fines, penalties, sanctions, fees, government payments or taxes, except
                        HIPAA Fines and Penalties;

  (4)   The Underwriter’s maximum aggregate Limit of Liability for all HIPAA Fines and
        Penalties resulting from all HIPAA Violations reimbursed under paragraph B.(1) above
        shall be $25,000. Payment of such maximum aggregate Limit of Liability shall terminate
        the Underwriter’s obligation to reimburse any further HIPAA Fines and Penalties under
        this Policy.

  (5)   If, during the Policy Period, a HIPAA Violation occurs, as a condition precedent to its
        right to reimbursement under paragraph B.(1) above, the Named Insured shall give the
        Underwriter written notice of such HIPAA Violation as soon as practicable thereafter,
        but in no event later than thirty (30) days after the Expiration Date or earlier cancellation
        date of this Policy.


  C.    SEPARATE LIMIT FOR ADMINISTRATORS

  (1)   Solely with respect to the coverage afforded under paragraph C. “SEPARATE LIMIT FOR
        ADMINISTRATORS” of this endorsement, Section I INSURING AGREEMENTS (A) of this
        Policy is amended to read in its entirety as follows:

                (A)     Claims-Made Professional Liability Insurance:

                        (1)      The Underwriter will pay up to the applicable Limit of Liability
                                 shown in ITEM 4.A.1. of the Declarations on behalf of the
                                 Insured any Loss that the Insured is legally obligated to pay as
                                 a result of any covered Claim for a Professional Services
                                 Wrongful Act happening on or after the Retroactive Date;
                                 provided, that the Claim is first made against the Insured
                                 during the Policy Period or applicable Extended Reporting
                                 Period and reported to the Underwriter in accordance with
                                 GENERAL CONDITION (C) of this Policy.

                        (2)      In the event the Underwriter’s Limits of Liability stated in ITEM
                                 4.A.1. of the Declarations have been exhausted by the payment
                                 of Loss, the Underwriter will pay up to the applicable Limit of
                                 Liability shown in ITEM 4.A.2. of the Declarations on behalf of any
                                 employed administrator of the Named Insured (each, an
                                 “Administrator”) any Loss that the Insured is legally obligated
                                 to pay as a result of any covered Claim first made against such
                                 Administrator for a Professional Services Wrongful Act
                                 happening on or after the Retroactive Date; provided, that the
                                 Claim is first made against the Administrator during the Policy
                                 Period or applicable Extended Reporting Period and reported to
                                 the Underwriter in accordance with GENERAL CONDITION (C) of
                                 this Policy.

  (2)   It is understood and agreed that no coverage will be available under INSURING
        AGREEMENT (A)(2) of this Policy (as set forth in paragraph C.(1) above) unless and until
        the Limits of Liability applicable to INSURING AGREEMENT (A)(1) of this Policy (as set
        forth in paragraph C.(1) above) as stated in ITEM 4.A.1. of the Declarations, as amended



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          in paragraph C.(3) below, have been completely exhausted by the payment of Loss
          (including any payment made on behalf of any Administrator). Accordingly, the Limits
          of Liability stated in ITEM 4.A.2. of the Declarations, as amended in paragraph C.(3)
          below, shall not be available to any Administrator under any circumstance unless and
          until the Underwriter’s Limits of Liability stated in ITEM 4.A.1. of the Declarations have
          been completely exhausted by the payment of Loss.

  (3)     Solely with respect to the coverage afforded under paragraph C. “SEPARATE LIMIT FOR
          ADMINISTRATORS” of this endorsement, ITEM 4.A. of the Declarations is amended to
          read in its entirety as follows:

                  A.1. Healthcare Professional Liability
                       Each Claim………………………………………………..                                     $1,000,000
                       Aggregate for all Claims………………………………….                             $3,000,000
                       Deductible X         Self-Insured Retention
                          Per Claim……………………………………………..                                    $250,000
                          Aggregate…………………………………………….                                     $5,000,000

                  A.2. Employed Administrators Professional Liability
                       Each Claim………………………………………………..                                     $100,000
                       Aggregate for all Claims………………………………….                             $100,000
                       Deductible           Self-Insured Retention
                          Per Claim……………………………………………..                                    $0
                          Aggregate…………………………………………….                                     N/A

  (4)     Solely with respect to the coverage afforded under paragraph C. “SEPARATE LIMIT FOR
          ADMINISTRATORS” of this endorsement and notwithstanding anything to the contrary in
          this Policy, the Limits of Liability stated in ITEM 4.A.2. of the Declarations, as amended in
          paragraph C.(3) above, shall apply separately to each Administrator and such Limits of
          Liability shall be in addition to the Limits of Liability stated in ITEM 4.A.1. of the
          Declarations, as amended in paragraph C.(3) above.

  (5)     Section IV GENERAL CONDITIONS (A) of this Policy shall be deemed amended to the
          extent necessary to effect the purpose and intent of paragraph C. “SEPARATE LIMIT FOR
          ADMINISTRATORS” of this endorsement.


  All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                   ENDORSEMENT NO. 4
              ADDITIONAL INSURED MORTGAGEE, LANDLORD OR LESSOR ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

      Policy No.          LTC-6366-14
      Issued to           GI Plum Holdco, LLC
      Issued by           Homeland Insurance Company of New York


In consideration of the premium charged:

(1)     Solely for the purposes of the coverage afforded under INSURING AGREEMENT (B) of this Policy,
        the term “Insured,” as defined in Section II DEFINITIONS of this Policy, shall be deemed to
        include any mortgagee, landlord or lessor of leased equipment that the Named Insured is
        required by written contract to name as an insured under this Policy (each an “Additional
        Insured”), but only with respect to liability of any such Additional Insured that is based on or
        arises out of the maintenance, operation or use by the Named Insured of the applicable
        premises and/or leased equipment.

(2)     Notwithstanding paragraph (1) above, no coverage will be available under this Policy for any:

        (a)        Occurrence which takes place after the Named Insured ceases to be a tenant in the
                   applicable premises or a mortgagor under the applicable mortgage; or

        (b)        Claim based on or arising out of :

                   (i)      any structural alterations, new construction or demolition operations performed
                            by or on behalf of an Additional Insured; or

                   (ii)     the terms, conditions or limitations of any such mortgage, or the failure by the
                            Named Insured to pay all or any part, or to otherwise perform any obligations
                            under the terms and conditions, of any mortgage loan.


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-00017-07/08
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                                       ENDORSEMENT NO. 5
                       AMEND CLAIMS MADE TRIGGER AT RENEWAL ENDORSEMENT

 This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

       Policy No.       LTC-6366-14
       Issued to        GI Plum Holdco, LLC
       Issued by        Homeland Insurance Company of New York

 In consideration of the premium charged, in the event that this Policy is renewed by the Underwriter:

 (1)     The italicized introductory language at the top of page 1 of this Policy is amended to read in
         its entirety as follows:

           PORTIONS OF THIS POLICY APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE
          INSURED DURING THE POLICY PERIOD. PLEASE READ THIS POLICY CAREFULLY.

 (2)     The first sentence of Section IV (C) (1) of this Policy is amended to read in its entirety as
         follows:

         (1)        If, during the Policy Period or any Extended Reporting Period, any Claim for a
                    Wrongful Act or Occurrence under INSURING AGREEMENT (A), (B) or (C) is first
                    made against an Insured, as a condition precedent to its right to any coverage under
                    this Policy, the Insured shall give the Underwriter written notice of such Claim as
                    soon as practicable thereafter, but in no event later than the expiration of any
                    applicable Extended Reporting Period.




 All other terms, conditions and limitations of this Policy shall remain unchanged.




 HPE-2PLUM-11-10                                   1
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                                 ENDORSEMENT NO. 6
          AMOUNTS PAID WITHIN DEDUCTIBLE WILL NOT REDUCE LIMIT ENDORSEMENT

  This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

        Policy No.         LTC-6366-14
        Issued to          GI Plum Holdco, LLC
        Issued by          Homeland Insurance Company of New York

  In consideration of the premium charged:

  (1)     Section IV GENERAL CONDITIONS (A)(7)(b) of this Policy is amended to read in its
          entirety as follows:

                     (b)      If a “Deductible” is selected under any Insuring Agreement in ITEM 4 of
                              the Declarations, any amounts paid within such deductible will not
                              reduce the applicable Limits of Liability for such Insuring Agreement.


  All other terms, conditions and limitations of this Policy shall remain unchanged.




  HPE-STHDV-02-10                                     1
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                                       ENDORSEMENT NO. 7
                                ADDITIONAL INSURED ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

      Policy No.    LTC-6366-14
      Issued to     GI Plum Holdco, LLC
      Issued by     Homeland Insurance Company of New York

In consideration of the premium charged:

(1)    Subject to paragraph (2) below, the term “Insured,” as defined in Section II DEFINITIONS of
       this Policy, is amended to include the person(s) or entity(ies) listed below (each an “Additional
       Insured”).

       Additional Insured(s)


           Sharol MacKie, with respects to her duties as a Nurse Practitioner, solely while
           acting on behalf of the Named Insured and solely within the scope of her duties as
           such

           Dinesh Mantri, MD, solely while acting on behalf of the named insured and solely
           within the scope of his administrative duties as such, including the overseeing of
           Nurse Practitioner, Sharol MacKie

           Inland Counties Regional Center, Inc.

           SCAN Health Plan c/o Ebix BPO, Inc.

           Rawlins Family Trust
           100 San Marino Avenue
           San Marino, CA 91108

           The Mellman Family Trust
           c/o Wells Fargo Bank, NA
           Wealth Custom Trailing Documents
           MAC#D4003-01E
           801 W. 4th Street
           Winston Salem, NC 27101-2501

           Auburn Manor Holding Corporation

           Martin A. Harmon, Trustee of the Crosswinds Trust, est 8/6/92

           Allpro, Inc.

           Veterans Health Administration

           Foremost Healthcare Properties, Inc.

           Horizon West Healthcare of California fka Sierra Medical Enterprises



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            Florine E. Wyatt, Trustee of the Wyatt 1992 Living Trust

            Westgate Convalescent Hospital Center

            The MLG Trust



(2)     It is understood and agreed that the Additional Insured(s) listed above is/are being afforded
        coverage under this Policy for any liability incurred solely as a result of the acts, errors or
        omissions of the original Insured. No coverage will be available under this Policy for Loss or
        Defense Expenses for any Claim against an Additional Insured based upon, arising out of,
        directly or indirectly resulting from, in consequence of, or in any way involving any actual or
        alleged act, error or omission of an Additional Insured.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                  ENDORSEMENT NO. 8
       BLANKET WAIVER OF SUBROGATION ENDORSEMENT – INSURING AGREEMENT (B) ONLY

This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

      Policy No.      LTC-6366-14
      Issued to       GI Plum Holdco, LLC
      Issued by       Homeland Insurance Company of New York


In consideration of the premium charged, solely with respect to any payment made under INSURING
AGREEMENT (B) of this Policy, the Underwriter agrees to waive its right to subrogation under Section IV
GENERAL CONDITIONS (K) of this Policy. Section IV GENERAL CONDITIONS (K) of this Policy shall be
deemed amended to the extent necessary to affect the purpose and intent of this endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                    ENDORSEMENT NO. 9
                         ADDITIONAL INSURED ENDORSEMENT – GL ONLY

  This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

        Policy No.     LTC-6366-14
        Issued to      GI Plum Holdco, LLC
        Issued by      Homeland Insurance Company of New York

  In consideration of the premium charged:

  (1)     Subject to paragraph (2) below, the term “Insured”, as defined in Section II
          DEFINITIONS of this Policy, shall be deemed to include the person(s) or entity(ies) listed
          below (each an “Additional Insured”), but only with respect to Claims under INSURING
          AGREEMENT (B) of this Policy. No coverage will be available to any such Additional
          Insured under INSURING AGREEMENT (A) or (C) of this Policy.

          Additional Insured(s)



   Clark County Nevada
   Holder / Loan Number: 602082-10

   General Electric Capital Corporation ISAOA & GE Business Financial Services, Inc.

   State of Arizona; Department of Economic Security

   Calvary Baptist Church of Los Gatos, Inc.; Calvary Church with respects to leased parking lot

   Sweet Water River Church with respects to leased parking lot

   Seacoast Community Church with respects to leased parking lot

   Mandalay Bay, its parent, subsidiaries, and affiliates as Additional Insured Mandalay Bay Resort
   and Casino
   Attn: Jennifer Specter
   3950 Las Vegas Boulevard South
   Las Vegas, NV 89119

   Outdoor Facility Reservations, City of San Marcos

   The County of El Dorado, its officers, officials, employees and volunteers.

   City of Visalia, California Department of Transportation
   110 W. Main Street, Suite D
   Visalia, CA 93291

   The State of Arizona and the Department of Economic Security

   Yolo County Mental Health Department




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  (2)     It is understood and agreed that the Additional Insured(s) listed above is/are being
          afforded coverage under this Policy for any liability incurred solely as a result of the acts,
          errors or omissions of the original Insured. No coverage will be available under this
          Policy for any Claim based on or arising out of any actual or alleged independent or
          direct liability of any Additional Insured.

  All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                      ENDORSEMENT NO. 10
                          AMEND SECTION III EXCLUSION (B)(4) ENDORSEMENT

 This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

       Policy No.        LTC-6366-14
       Issued to         GI Plum Holdco, LLC
       Issued by         Homeland Insurance Company of New York

 In consideration of the premium charged:

 (1)     In the event of a Claim for any actual or alleged Elder Abuse, as such term is defined in
         paragraph (2) below, it is understood and agreed that Section III EXCLUSIONS (B)(4) of this
         Policy shall not apply to:

         (a)        any Insured who did not personally participate in such Elder Abuse; or

         (b)        the vicarious liability of the Named Insured for such Elder Abuse.

 (2)     For purposes of this endorsement, the term “Elder Abuse” means a single or repeated act,
         or lack of appropriate action, occurring within any relationship where there is an expectation
         of trust which causes harm or distress to an older person.


 All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                      ENDORSEMENT NO. 11
                            SCHEDULE A - NAMED INSURED ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

      Policy No.      LTC-6366-14
      Issued to       GI Plum Holdco, LLC
      Issued by Homeland Insurance Company of New York

In consideration of the premium charged, the term “Named Insured,” as defined in Section II
DEFINITIONS of this Policy, shall include the entity(ies) scheduled below. With respect to such
entity(ies), the applicable Retroactive Date shall be the Retroactive Date set forth opposite the name of
each such entity, and ITEM 3 of the Declarations shall be deemed amended accordingly.

    Named Insured                                                 Retroactive Date

   Ash Holdings, LLC dba Redlands Healthcare Center               June 1, 2003


   Birch Holdings, LLC dba University Care Center                 June 1, 2003


   Cedar Holdings, LLC dba Highland Palms Healthcare Center       June 1, 2003


   Douglas Fir Holdings, LLC dba Huntington Valley Healthcare     June 1, 2003




   Elm Holdings, LLC dba La Mesa Healthcare Center                June 1, 2003


   Fig Holdings, LLC dba Garden City Healthcare Healthcare        June 1, 2003
   Center


   Italian Maple Holdings, LLC dba La Paloma Healthcare Center    June 1, 2003


   Jeffrey Pines Holding, LLC dba Villa Las Palmas Healthcare     June 1, 2003


   Golden Oak Holdings, LLC dba Vasona Creek Healthcare           June 1, 2003
   Center


   Hawthorne Holdings, LLC dba White Blossom Care Center          June 1, 2003


   KOA Holdings, LLC dba Cottonwood Canyon Healthcare             March 1, 2006
   Center



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  Lilac Holdings, LLC dba Reo Vista Healthcare Center           January 18, 2007


  Applewood Operating Company LLC dba Copper Ridge              January 3, 2007
  Healthcare Center


  Magnolia Holdings, LLC dba Oak River Rehab                    January 18, 2007


  Norway Maple Holdings, LLC dba Crystal Cove Care Center       September 18, 2007


  Olive Holdings, LLC dba Aviara Health Care Center             April 16, 2008


  Poplar Holdings, LLC dba Poway Healthcare Center              April 16, 2008


  Quince Holdings, LLC dba Pueblo Springs Rehabilitation        October 30, 2009
  Center


  Spruce Holdings, LLC dba Visalia Nursing and Rehabilitation   June 16, 2009
  Center


  Tulip Tree Holdings, LLC dba Mt. Olympus Rehabilitation       October 30, 2009
  Center


  Viburnum Holdings, LLC dba Spring Creek Healthcare Center     September 1, 2009


  Green Farm Holdings, LLC                                      March 17, 2009


  Honeyflower Holdings, LLC dba Arlington Gardens Care          June 9, 2010
  Center


  Ixia Holdings, LLC dba Bishop Care Center                     June 7, 2011




  Kerria Holdings, LLC dba Westview Healthcare Center           June 7, 2011




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  Rosebud Holdings, LLC dba Western Slope Healthcare Center   June 7, 2011


  Aloe Holdings, LLC dba Auburn Oaks Care Center              June 7, 2011


  Aster Holdings, LLC dba Four Corners Regional Care Center   June 7, 2011


  Bluebell Holdings, LLC dba Wolf Creek Care Center           June 7, 2011


  Oleander Holdings, LLC dba Sacramento Sub-Acute             June 7, 2011


  Lily Holdings, LLC dba Oakwood Gardens Care Center          June 7, 2011


  Windflower Holdings, LLC dba Rocky Point Care Center        June 7, 2011


  Violet Holdings, LLC dba Lincoln Meadows Care Center        June 7, 2011


  Snowdrop Holdings, LLC dba Linwood Meadows Care Center      June 7, 2011


  Flax Holdings, LLC dba River Valley Care Center             June 7, 2011


  Azalea Holdings, LLC dba McKinley Park Care Center          June 7, 2011


  Edelweiss Holdings, LLC dba Crystal Ridge Care Center       June 7, 2011


  Marjoram Holdings, LLC dba Cypress Ridge Care Center        June 7, 2011


  Petunia Holdings, LLC dba Napa Valley Care Center           June 7, 2011


  Begonia Holdings, LLC dba Parkdale Health & Rehab           June 7, 2011


  Gladiolus Holdings, LLC dba The Pines at Placerville        June 7, 2011
  Healthcare Center


  Camellia Holdings, LLC dba Red Cliffs Health & Rehab        June 7, 2011




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   Crocus Holdings, LLC dba Roseville Care Center             June 7, 2011


   Daffodil Holdings, LLC dba Sandy Health & Rehab            June 7, 2011


   Jonquil Holdings, LLC dba Davis Healthcare Center          June 7, 2011


   Daisy Holdings, LLC dba Pine Creek Care Center             June 7, 2011


   Nightshade Holdings, LLC Redwood Cove Healthcare Center    June 7, 2011


   Queen Ann’s Lace Holdings, LLC dba Whitney Oaks Care       June 7, 2011
   Center


   Thyme Holdings, LLC dba Westgate Gardens Care Center       June 7, 2011


   Ulmus Holdings, LLC dba Rock Creek Care Center             December 1, 2010


   Walnut Holdings, LLC dba Desert Blossom Health &           January 1, 2011
   Rehabilitation Center


   White Fir Holdings, LLC dba Midtown Oaks Post Acute        December 27, 2013




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                     ENDORSEMENT NO. 12
                   NOTICE OF CANCELLATION TO SCHEDULED PARTY ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

      Policy No.    LTC-6366-14
      Issued to     GI Plum Holdco, LLC
      Issued by      Homeland Insurance Company of New York


In consideration of the premium charged:

(1)     If the Underwriter cancels this Policy for any reason other than non-payment of premium, the
        Underwriter will endeavor to provide notice of such cancellation to the individual(s) or entity(ies)
        identified in the schedule below (each a “Scheduled Party”), at the address set forth next to the
        Scheduled Party’s name, when notice of cancellation is sent to the First Named Insured. In no
        event will the timing of notice to a Scheduled Party exceed the timing of notice to the First
        Named Insured. It is understood and agreed that notice of cancellation to a Scheduled Party is
        provided solely as a courtesy for the convenience of the First Named Insured and does not
        constitute a prerequisite to effective policy cancellation.

(2)     Failure to provide notice of cancellation to a Scheduled Party shall impose no liability of any kind
        or nature whatsoever on the Underwriter and shall not amend or extend the effective date of
        policy cancellation or invalidate the cancellation.

          Scheduled Party:


         General Electric Capital Corp ISAOA & GE Business Financial Services, Inc.;
         GEMSA Loan Services, LP


         Banc of California National Association
         c/o Kurt Kesler & Associates
         Insurance Services, Inc.




All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                  ENDORSEMENT NO. 13
LIMIT COVERAGE TO GENERAL LIABILITY ONLY FOR SPECIFIC INSURED LOCATION(S) ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

      Policy No.     LTC-6366-14
      Issued to      GI Plum Holdco, LLC
      Issued by      Homeland Insurance Company of New York

In consideration of the premium charged, solely with respect to the Insured’s location(s) identified
below, this Policy shall provide coverage solely for Claims under INSURING AGREEMENT (B) of this
Policy.

        Location(s) with GL-Only Coverage:


            100 E San Marcos Blvd Ste 150
            San Marcos, CA 92069-2987

            5252 Auburn Blvd
            Sacramento, CA 95841


No coverage will be available under INSURING AGREEMENT (A), (C), (D) or (E) of this Policy with respect
to any location(s) identified above.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                    ENDORSEMENT NO. 14
                         FRONT LOSS WITHIN DEDUCTIBLE ENDORSEMENT

  This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

        Policy No.     LTC-6366-14
        Issued to      GI Plum Holdco, LLC
        Issued by      Homeland Insurance Company of New York

  In consideration of the premium charged, in accordance with Section IV GENERAL CONDITIONS
  (A)(7)(a) of this Policy, the Underwriter has agreed to pay Loss within the applicable deductible
  on behalf of the Insured; provided, that the Insured understands and agrees that he/she/it
  shall repay the Underwriter any amounts so paid as soon as practicable upon demand of the
  Underwriter.


  All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                 ENDORSEMENT NO. 15
      ADDITIONAL NAMED INSURED – RELATED TO ORIGINAL NAMED INSURED ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

      Policy No.       LTC-6366-14
      Issued to        GI Plum Holdco, LLC
      Issued by        Homeland Insurance Company of New York


In consideration of the premium charged:

(1)     The term “Named Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to
        include the entity(ies) scheduled below (each an “Additional Named Insured”), but solely:

        (a)        with respect to liability imposed or sought to be imposed on such Additional Named
                   Insured that is based on or arises out of acts, errors or omissions committed or allegedly
                   committed by such Additional Named Insured when and to the extent that, such
                   Additional Named Insured is acting on behalf of, and within the capacity and scope of its
                   duties for GI Plum Holdco, LLC; and

        (b)        for Wrongful Acts or Occurrences happening on or after the
                   Retroactive Date identified for each Additional Named Insured in the schedule below:

          SCHEDULE

Additional Named Insured:                                      Retroactive Date:

1990 Fruitdale Avenue, LLC                                         06.01.2003

16412 Los Gatos Blvd., LLC                                         06.01.2003

1310 West Granger Avenue, LLC                                      06.01.2003

1391 Madison Avenue, LLC                                           06.11.2007

6061 Banbury Street, LLC                                           06.11.2007

944 Regal Road, LLC                                                06.11.2007

3300 Franklin Street, LLC                                          03.17.2009

15632 Pomerado Road, LLC                                           06.11.2007

201 Hartnell Avenue, LLC                                           03.17.2009

5545 East Lee Street, LLC                                          03.17.2009

1925 East Houston Avenue, LLC                                      06.09.2010

2200 East 330 South, LLC                                           06.09.2010

260 Racetrack Street, LLC                                          06.09.2010

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60 South 58th Street, LLC                   12.01.2010

Plum Healthcare Group North, LLC            01.01.2011

Plum Healthcare Group, LLC                  06.07.2011

Bay Bridge Capital Partners, LLC            06.01.2003

GI Side Fund Plum Corp.                     11.15.2012

Flower Farm Group, LLC                      11.15.2012

Plum Propco, LLC                            11.15.2012

Plum OpCo Holdings, LLC                     11.15.2012

1139 Cirby Way, LLC                         11.15.2012

3400 Bell Road, LLC                         11.15.2012

818 N. 400 West, LLC                        11.15.2012

3700 H Street, LLC                          11.15.2012

250 E. 600 North, LLC                       11.15.2012

107 Catherin Lane, LLC                      11.15.2012

1745 E. 280 North, LLC                      11.15.2012

1161 Cirby Way, LLC                         11.15.2012

50 E 9000 South, LLC                        11.15.2012

396 Dorsey Drive, LLC                       11.15.2012

9000 Larkin Road, LLC                       11.15.2012

1040 Marshall Way, LLC                      11.15.2012

3688 Nye Avenue, LLC                        11.15.2012

151 Pioneer Avenue, LLC                     11.15.2012

715 Pole Line Road, LLC                     11.15.2012

12225 Shale Ridge Road, LLC                 11.15.2012

3510 East Shields Road, LLC                 11.15.2012

1501 Skyline Drive, LLC                     11.15.2012


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1162 South Dora, LLC                                             11.15.2012

5255 Hemlock Street, LLC                                         11.15.2012

3275 Villa Lane, LLC                                             11.15.2012

3280 Washington Street, LLC                                      11.15.2012

1550 3rd Street, LLC                                             11.15.2012

625 16th Street, LLC                                             11.15.2012

Blueblosson Holdings, LLC                                         08.30.2013

Corktree Holdings, LLC                                            08.27.2013

Pepperbush Holdings, LLC                                          09.04.2013

Winterhazel Holdings, LLC                                         09.04.2013

Yate Holdings, LLC                                                06.18.2013

West Post Drive, LLC                                              06.18.2013

2600 L Street, LLC                                                08.15.2013

Acophy Holdings, LLC                                              07.19.2013



(2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits
        of Liability set forth in ITEM 4 of the Declarations.

(3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the
        purpose and intent of this endorsement.


All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                        ENDORSEMENT NO. 16
                                MAINTENANCE DEDUCTIBLE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on August 4, 2014, forms part of:

      Policy No.        LTC-6366-14
      Issued to         GI Plum Holdco, LLC
      Issued by         Homeland Insurance Company of New York


In consideration of the premium charged, it is understood and agreed that:

(1)     With respect to any Claim:

        (a)        pending as of the Threshold Date (as defined below) for which no payment has been
                   made by the Underwriter or the Insured within the applicable deductible stated in ITEM
                   4 of the Declarations in connection with such Claim; or

        (b)        made against the Insured after the Threshold Date,

        the Underwriter’s obligation to pay Loss or Defense Expenses under this Policy in connection
        with any such Claim shall be excess of a deductible of $10,000 per each such Claim.

(2)     The deductible stated in paragraph (1) above shall be eroded (or exhausted) by the payment of
        Loss or Defense Expenses. The Insured shall be responsible for payment in full of such
        deductible; provided, that the Underwriter has agreed to pay such deductible on behalf of the
        Insured and the Insured understands and agrees that he/she/it shall repay the Underwriter
        any amounts so paid as soon as practicable upon demand of the Underwriter. Any amounts paid
        within such deductible will reduce, and may exhaust, the applicable Limits of Liability stated in
        ITEM 4 of the Declarations.

(3)     For the purposes of this endorsement, the term “Threshold Date” means the date on which the
        full amount of the applicable aggregate deductible stated in ITEM 4 of the Declarations has been
        paid by the Underwriter and/or the Insured.

(4)     This Policy shall be deemed amended to extent necessary to effect the purpose and intent of this
        endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                               ENDORSEMENT NO. 17
         ADDITIONAL INSURED ENDORSEMENT-PRIMARY AND NONCONTRIBUTORY (GL)

  This Endorsement, effective at 12:01 a.m. on August 4, 2014, forms part of

        Policy No.    LTC-6366-14
        Issued to     GI Plum Holdco, LLC
        Issued by     Homeland Insurance Company of New York


  In consideration of the premium charged:

  (1)    Solely for the purposes of the coverage afforded under INSURING AGREEMENT (B) of
         this Policy, the term “Insured,” as defined in Section II DEFINITIONS of this Policy, is
         amended to include the person(s) or entity(ies) scheduled below (each an “Additional
         Insured”), but solely with respect to any liability imposed or sought to be imposed on
         such Additional Insured as a result of the acts, errors or omission of an original Insured.

  (2)    No coverage will be available under this Policy for Loss or Defense Expenses for any
         Claim against an Additional Insured based solely upon the actual or alleged acts, errors
         or omissions of an Additional Insured.

  (3)    With respect to any Claim against an Additional Insured based upon both the acts,
         errors or omissions of the original Insured and the acts, errors or omissions of an
         Additional Insured, the Underwriter will pay Defense Expenses incurred by such
         Additional Insured in connection with such Claim and Loss such Additional Insured is
         legally obligated to pay as a result of the acts, errors or omissions of the original
         Insured, subject in all events to all other terms, conditions and exclusions of this Policy.
         No coverage will be available under this Policy for any Loss such Additional Insured is
         obligated to pay as a result of its own acts, errors or omissions.

  (4)    Any coverage for Defense Expenses incurred by an Additional Insured pursuant to this
         endorsement shall be primary, and Section IV GENERAL CONDITIONS (L) of this Policy
         shall be deemed amended accordingly.

  (5)    If a written agreement between the Named Insured and an Additional Insured
         providing indemnity or contribution in favor of such Additional Insured exists, the
         amount, extent and scope of coverage available under this Policy to such Additional
         Insured will be no greater than the amount, extent and scope of indemnification
         available to such Additional Insured as agreed to by the Named Insured in such
         agreement.

  (6)    It is understood and agreed that the Additional Insured(s) scheduled below share in the
         applicable Limits of Liability set forth in ITEM 4.B. of the Declarations.




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  SCHEDULE

  Additional Insured


  County of Santa Clara
  and members of the Board of Supervisors of the County of Santa Clara, and the officers, agents,
  and employees of the County of Santa Clara, individually and collectively, as additional insureds.


  County of Placer


  All other terms, conditions and limitations of this Policy shall remain unchanged.




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LON G TERM CARE
ORGAN IZATION S PROFESSION AL
LIABILITY, GEN ERAL LIABILITY
AN D EMPLOYEE BEN EFIT
LIABILITY POLICY, IN CLUDIN G
LEGAL/ MEDIA AN D
EVACUATION EXPEN SE
REIMBURSEMEN T

     PORTION S OF THIS POLICY APPLY ON LY TO CLAIMS FIRST MADE AGAIN ST
       THE IN SURED AN D REPORTED TO THE UN DERWRITER DURIN G THE
            POLICY PERIOD. PLEASE READ THIS POLICY CAREFULLY.


In consideration of the payment of the premium, and in reliance on all statements made and
information furnished to the Underwriter, and subject to all of the terms and conditions of this
Policy (including all endorsements hereto), the Underwriter and the Insured agree as follows:

I.      IN SURIN G AGREEMEN TS

(A)     Claims Made Professional Liability Insurance:

        The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.A. of the
        Declarations on behalf of the Insured any Loss that the Insured is legally obligated to pay
        as a result of any covered Claim for a Professional Services Wrongful Act happening on
        or after the Retroactive Date; provided, that the Claim is first made against the Insured
        during the Policy Period or applicable Extended Reporting Period and reported to the
        Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

(B)     Claims Made General Liability Insurance:

        The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.B. of the
        Declarations on behalf of the Insured any Loss which the Insured is legally obligated to
        pay as a result of a covered Claim alleging Bodily Injury, Property Damage, Advertising
        Injury or Personal Injury that is caused by an Occurrence happening on or after the
        Retroactive Date; provided, that the Claim is first made against the Insured during the
        Policy Period or applicable Extended Reporting Period and reported to the Underwriter in
        accordance with GENERAL CONDITION (C) of this Policy.

(C)     Claims Made Employee Benefit Liability Insurance:

        The Underwriter will pay up to the Limit of Liability shown in ITEM 4.C. of the
        Declarations on behalf of the Insured any Loss that the Insured is legally obligated to pay
        as a result of any covered Claim for an Employee Benefit Wrongful Act happening on or
        after the Retroactive Date; provided, that the Claim is first made against the Insured


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      during the Policy Period or applicable Extended Reporting Period and reported to the
      Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

(D)   Evacuation Expense Reimbursement Insurance:

      Upon satisfactory proof of payment by the N amed Insured, the Underwriter will reimburse
      the N amed Insured up to the amount set forth in ITEM 4.D. of the Declarations for
      Evacuation Expense actually paid by the N amed Insured during the Policy Period in
      connection with an Evacuation occurring after the Retroactive Date.

(E)   Legal/ Media Expense Reimbursement Insurance:

      Upon satisfactory proof of payment by the N amed Insured, the Underwriter will reimburse
      the N amed Insured up to the amount set forth in ITEM 4.E. of the Declarations for
      Legal/ Media Expense actually paid by the N amed Insured during the Policy Period in
      connection with a Legal Event occurring after the Retroactive Date, provided, that the
      Underwriter will have no liability whatsoever for fines, penalties, assessments of costs or
      other financial awards associated with any such Legal Event.

(F)   Defense and Supplementary Payments:

      The Underwriter has the right and duty to defend any Claim that is covered by INSURING
      AGREEMENTS (A), (B), and (C) of this Policy, even if any of the allegations of such
      Claim are groundless, false or fraudulent. In addition to the Limits of Liability for
      INSURING AGREEMENTS (A), (B), and (C), the Underwriter will pay Defense
      Expenses and will:

      (1)    pay the premium on any bond to release attachments for an amount not in excess of
             the Limits of Liability for INSURING AGREEMENTS (A), (B), and (C) of this
             Policy and the premium on any appeal bond required in any defended suit, provided,
             that the Underwriter will not be obligated to apply for or furnish any such bond;

      (2)    pay all costs imposed against the Insured in any such suit;

      (3)    provide a legal defense and pay Defense Expenses for any arbitration, mediation or
             other alternative dispute proceeding if:

             (a)     the dispute at issue is a Claim covered by this Policy, and

             (b)     the Insured provides notice of the proceeding as required by GENERAL
                     CONDITION (C) of this Policy; and

      (4)    pay reasonable expenses, plus loss of earnings due to time off from work, incurred
             by an Insured as a result of being a defendant or co-defendant in a Claim or at the
             Underwriter’s request, but not to exceed:

             (a)     $500 per day per Insured; and



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              (b)     $12,500 per Claim.

II.   DEFIN ITION S

(A)   “Administration” means:

      (1)     giving advice or counsel to Employees or their beneficiaries concerning their rights
              or interest with respect to Employee Benefit Programs;

      (2)     determining the eligibility of Employees to participate in Employee Benefit
              Programs;

      (3)     interpreting the provisions of Employee Benefit Programs;

      (4)     handling and keeping records and processing of claims in connection with
              Employee Benefit Programs; and

      (5)     effecting enrollment, termination or cancellation of Employees under Employee
              Benefit Programs.

(B)   “Advertisement” means a notice that is broadcast or published to the general public or
      specific market segments about the Insured’s goods, products or services, for the purpose
      of attracting customers or supporters. For purposes of this Definition:

      (1)     notice that is broadcast or published includes material placed on the Internet or
              similar means of electronic communication; and

      (2)     with regard to websites, only that part of a website that is about the Insured’s
              goods, products or services, for the purpose of attracting customers or supporters,
              will be considered an Advertisement.

(C)   “Advertising Injury” means injury arising out of one or more of the following offenses:

      (1)     the Insured’s use of another’s advertising idea in an Advertisement;

      (2)     the Insured’s use of another’s copyright, trade dress or slogan in an Advertisement;
              or

      (3)     the Insured’s infringement upon another’s copyright, trade dress or slogan in an
              Advertisement.

(D)   “Beauticians and Barbers Professional Services” means those services rendered by
      licensed beauticians and/ or barbers in their capacity as such.

(E)   “Beauticians and Barbers Professional Services Wrongful Act” means any actual or
      alleged act, error or omission, or series of acts, errors or omissions, by a licensed beautician
      or barber, who is not an employee of the N amed Insured but who is invited by the
      N amed Insured onto the N amed Insured’s premises to perform Beauticians and


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      Barbers Professional Services, in rendering, or failing to render, such Beauticians and
      Barbers Professional Services.

(F)   “Bodily Injury” means bodily injury, sickness or disease sustained by a person, other than a
      Patient, including death resulting from any of these at any time; mental anguish; and mental
      injury.

(G)   “Claim” means any written notice received by an Insured that any person or entity intends
      to hold an Insured responsible for a Wrongful Act or an Occurrence.

(H)   “Covered Contract” means any lease of premises; sidetrack agreement; elevator
      maintenance agreement; easement or license agreement; or contract or agreement specifically
      added as a Covered Contract by written endorsement to this Policy, under which the
      N amed Insured assumes the tort liability of another to pay damages for Bodily Injury or
      Property Damage covered by this Policy that is sustained by others.

(I)   “Defense Expenses” means the reasonable fees of attorneys, experts and consultants and
      costs and expenses incurred in the investigation, adjustment, defense or appeal of a Claim
      with the approval or at the direction of the Underwriter; provided that Defense Expenses
      shall not include:

      (1)    remuneration, salaries, overhead, fees, loss of earning reimbursement or benefit
             expenses of an Insured;

      (2)    any amounts incurred in defense of a Claim for which any other insurer has a duty
             to defend, regardless whether such other insurer undertakes such duty; or

      (3)    any benefits under an Employee Benefit Program.

(J)   “Emergency Medical Treatment” means emergency medical treatment provided at the
      N amed Insured’s facility(ies), without remuneration, by a physician who is an Employee
      of, or an independent contractor for, the N amed Insured to a Patient suffering from a life-
      threatening condition.

(K)   “Employee” means: (1) any person who has an assigned work schedule for and is on the
      regular payroll of the N amed Insured, with federal and state taxes withheld; and (2) any
      person who is leased to the N amed Insured through a temporary or staffing agency and is
      working for the N amed Insured under the N amed Insured’s supervision. Independent
      contractors are not Employees. An Employee’s status as an Insured shall be determined
      as of the date of the Occurrence or Wrongful Act upon which a Claim involving the
      Employee is based.

(L)   “Employee Benefit Programs” means any group life insurance, group accident and health
      insurance, profit sharing plans, pension plans, Employee stock subscription plans, workers’
      compensation, unemployment insurance, social security and disability benefits insurance or
      any other similar plan under the Administration of the N amed Insured for the benefit of
      its Employees.



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(M)   “Employee Benefit Wrongful Act” means any actual or alleged act, error or omission, or
      series of acts, errors or omissions, by an Insured in the Administration of an Employee
      Benefit Program.

(N)   “Employment Practices” means any of the following: breach of any employment contract;
      failure or refusal to hire or employ; dismissal, discharge, reduction in force, downsizing or
      termination of employment, whether actual or constructive; demotion, reassignment, failure
      or refusal to promote, or deprivation of career opportunity; discipline of Employees;
      evaluation of Employees; discrimination or harassment of any kind or on any basis
      including, but not limited to, discrimination, limitation, segregation or classification based on
      race, sex, marital status, ancestry, physical or mental handicaps, age, sexual preference,
      pregnancy or religion or other status that is protected under any applicable federal, state or
      local statute or ordinance affecting any present or former Employee or applicant for
      employment; humiliation or defamation of any present or former Employee or applicant
      for employment; retaliatory treatment against an Employee arising out of the Employee’s
      attempted or actual exercise of the Employee’s rights under the law; employment-related
      misrepresentations; or failure to implement appropriate workplace or employment policies
      or procedures.

(O)   “Evacuation” means the removal from one or more of the N amed Insured’s facilities to
      any other location of fifty percent (50%) or more of the Residents in such facility(ies) as a
      result of any natural or man-made occurrence that, in the reasonable judgment of the
      N amed Insured’s management, causes or could potentially cause such facility(ies) to be
      unsafe for such Residents.

(P)   “Evacuation Expense” means reasonable costs incurred in connection with an
      Evacuation, including costs associated with transporting, lodging and providing meals to
      Residents who have been evacuated. Evacuation Expense does not include any
      remuneration, salaries, overhead or benefit expenses of the N amed Insured.

(Q)   “First N amed Insured” means the entity designated as such in ITEM 1 of the
      Declarations.

(R)   “Hostile Fire” means a fire which becomes uncontrollable or breaks out from where it was
      intended to be contained; provided, that Hostile Fire does not include any fire that
      originates at any site operating as a waste disposal facility or waste storage facility.

(S)   “Impaired Property” means tangible property, other than Insured Product or Insured
      Work, that cannot be used or is not useful because:

      (1)     it incorporates Insured Product or Insured Work that is known or thought to be
              defective, deficient, inadequate or dangerous; or

      (2)     the N amed Insured has failed to fulfill the terms of any contract or agreement.

(T)   “Insured” means any of the following:

      (1)     the N amed Insured;


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      (2)     any Employee or Volunteer; but only when such Employee or Volunteer is acting
              within the capacity and scope of his or her duties as such;

      (3)     the N amed Insured’s medical directors, department heads, or chiefs of staff, but
              only while acting within the scope and capacity of their duties as such for the
              N amed Insured;

      (4)     any member of a duly authorized board or any committee of the N amed Insured;

      (5)     solely with respect to and limited to coverage afforded under INSURING
              AGREEMENT (A), the lawful spouses of individual Insureds and, in the event of
              the death, incapacity, or bankruptcy of an individual Insured, the estates, heirs, legal
              representatives or assigns of such individual Insured;

      (6)     solely with respect to and limited to coverage afforded under INSURING
              AGREEMENT (A), any physician who is an Employee of, or independent
              contractor for, the N amed Insured, but only while providing Emergency Medical
              Treatment;

      (7)     solely with respect to and limited to coverage afforded under INSURING
              AGREEMENT (A), any licensed beautician and/ or barber who is not an employee
              of the N amed Insured but who is invited by the N amed Insured onto the
              N amed Insured’s premises to perform Beauticians and Barbers Professional
              Services, but only while performing such Beauticians and Barbers Professional
              Services at the request of the N amed Insured on the N amed Insured’s premises;

      (8)     any person enrolled as a student in a formal training program offered by the N amed
              Insured or a subsidiary or an affiliate in connection with the N amed Insured’s on-
              site operation as a health care organization or provider, but only when such person is
              acting within the capacity and scope of his or her duties as such;

      (9)     any member or partner of a joint venture or partnership specifically listed as a
              N amed Insured in Schedule A to this Policy, but only with respect to such member
              or partner’s liability arising out of such joint venture or partnership; and

      (10)    any driver or operator of Mobile Equipment, but only when operating Mobile
              Equipment at the direction and with the permission of the N amed Insured;

      provided, that Insured shall not include any person who is an intern, resident, physician,
      surgeon, dentist, psychiatrist, nurse anesthetist, nurse midwife, podiatrist or chiropractor
      while rendering Medical Services, whether such person is an Employee, Volunteer or
      student, except as specifically provided in clause (6) above.

(U)   “Insured Product” means:

      (1)     any goods or products, other than real property, manufactured, sold, handled,
              distributed or disposed of by:


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             (a)     the N amed Insured;

             (b)     others trading under the name of the N amed Insured; or


             (c)     a person or an organization whose business or assets the N amed Insured
                     has acquired; and

      (2)    containers (other than vehicles), materials, parts or equipment furnished in
             connection with such goods or products. Insured Product includes:

             (a)     warranties or representations made at any time with respect to the fitness,
                     quality, durability, performance or use of the Insured Product; and

             (b)     the providing of or failure to provide warnings or instructions.

      Insured Product includes leased equipment used in or useful to the N amed Insured in
      providing its services, but only if the lease for such leased equipment had an original term of
      six (6) months or more. Insured Product does not include vending machines or other
      property rented to, or located for the use of, others but not sold.

(V)   “Insured Work” means:

      (1)    work or operations performed by the N amed Insured or on the N amed Insured’s
             behalf; and

      (2)    materials, parts or equipment furnished in connection with such work or operations.
             Insured Work includes:

             (a)     warranties or representations made at any time with respect to the fitness,
                     quality, durability, performance or use of the Insured Work; and

             (b)     the providing of or failure to provide warnings or instructions.

(W)   “Legal/ Media Expense” means reasonable fees and costs of attorneys, experts and
      consultants, including third-party media consultants, incurred in the investigation and
      defense of an actual or alleged Legal Event. Legal/ Media Expense includes costs
      incurred in the management of public relations with respect to such Legal Event, but does
      not include any remuneration, salaries, overhead, fees, loss of earning reimbursement or
      benefit expenses of the N amed Insured.

(X)   “Legal Event” means any criminal investigation, criminal complaint, indictment, or
      administrative, regulatory, disciplinary or licensure proceeding arising out of a Professional
      Services Wrongful Act that happened on or after the Retroactive Date.

(Y)   “Loss” means Legal/ Media Expenses; Evacuation Expenses; and any damages,
      settlements, judgments or other amounts (including punitive or exemplary damages if


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       insurable under the applicable law most favorable to the insurability thereof) in excess of the
       applicable deductible or self-insured retention, if any, stated in ITEM 4 of the Declarations
       which an Insured is legally obligated to pay as a result of a Claim. Loss shall not include:

       (1)    Defense Expenses;

       (2)    the multiple portion of any multiplied damage award;

       (3)    fines, penalties, sanctions, fees, government payments or taxes;

       (4)    amounts owed to any provider of Medical Services under any contract;

       (5)    restitution, return or disgorgement of fees, profits, charges for products or services
              rendered, capitation payments, premium or any other funds allegedly wrongfully held
              or obtained;

       (6)    benefits under an Employee Benefits Program;

       (7)    relief or redress in any form other than monetary compensation or monetary
              damages, including without limitation the cost of complying with any injunctive,
              declaratory or administrative relief;

       (8)    the payment, satisfaction or writing off of any medical bills or charges by an
              Insured; or

       (9)    matters which are uninsurable under applicable law.

(Z)    “Medical Services” means health care, medical care, or treatment provided to any
       individual, including without limitation any of the following: medical, surgical, dental,
       psychiatric, mental health, chiropractic, osteopathic, nursing, or other professional health
       care; the furnishing or dispensing of medications, drugs, blood, blood products, or medical,
       surgical, dental, or psychiatric supplies, equipment, or appliances in connection with such
       care; the furnishing of food or beverages in connection with such care; the providing of
       counseling or other social services in connection with such care; and the handling of, or the
       performance of post-mortem examinations on, human bodies.

(AA)   “Mobile Equipment” means any of the following types of land vehicles, including any
       attached machinery or equipment:

       (1)    bulldozers, farm machinery, forklifts and other vehicles designed for use principally
              off public roads;

       (2)    vehicles maintained for use solely on or next to premises owned or rented by an
              Insured;

       (3)    vehicles that travel on crawler treads;

       (4)    vehicles, whether self-propelled or not, maintained primarily to provide mobility to


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               permanently mounted:

               (a)    power cranes, shovels, loaders, diggers or drills, or

               (b)    road construction or resurfacing equipment such as graders, scrapers or
                      rollers;

       (5)     vehicles not described in clauses (1)-(4) above that are not self-propelled and are
               maintained primarily to provide mobility to permanently attached equipment of the
               following types:

               (a)    air compressors, pumps and generators, including spraying, welding, building
                      cleaning, geophysical exploration, lighting and well servicing equipment; or

               (b)    cherry pickers and similar devices used to raise or lower workers; and

       (6)     vehicles not described in clauses (1)-(4) above maintained primarily for purposes
               other than the transportation of persons or cargos.

       Mobile Equipment does not include self-propelled vehicles with the following types of
       permanently attached equipment:

       (i)     equipment designed primarily for:

               (aa)   snow removal;

               (bb)   road maintenance but not construction or resurfacing; or

               (cc)   street cleaning;

       (ii)    cherry pickers and similar devices mounted on automobile or truck chassis and used
               to raise or lower workers; and

       (iii)   air compressors, pumps and generators, including spraying, welding, building
               cleaning, geophysical exploration, lighting and well servicing equipment.

(BB)   “Mold” means mold, mildew, spores, mycotoxins, fungi, organic pathogens or other micro
       organisms of any type, nature or description whatsoever.

(CC)   “N amed Insured” means the First N amed Insured and each other entity listed as a
       N amed Insured in Schedule A to this Policy.

(DD) “Occurrence” means:

       (1)     with respect to Bodily Injury or Property Damage, an accident, including
               continuous or repeated exposure to substantially the same harmful conditions, which
               results in injury or damage neither expected nor intended by the Insured; and



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       (2)    with respect to Advertising Injury or Personal Injury, a covered offense as set
              forth in DEFINITIONS (C) or DEFINITIONS (FF) of this Policy.

(EE)   “Patient” means:

       (1)    any person admitted or registered to receive Medical Services from an Insured on
              an outpatient basis;

       (2)    any person admitted or registered to receive adult day services at the N amed
              Insured’s facility(ies); and

       (3)    any Resident.

(FF)   “Personal Injury” means injury, other than Bodily Injury, arising out of one or more of
       the following offenses:

       (1)    false arrest, detention or imprisonment;

       (2)    malicious prosecution;

       (3)    the wrongful eviction from, wrongful entry into, or invasion of the right of private
              occupancy of a room, dwelling or premises that a person occupies by or on behalf of
              its owner, landlord or lessor; provided, that Personal Injury shall not include any
              injury arising out of a wrongful eviction resulting from any actual or alleged failure to
              pay or breach of contract;

       (4)    oral or written publication of material that slanders or libels a person or an
              organization or disparages a person’s or an organization’s goods, products or
              services; or

       (5)    oral or written publication of material that violates a person’s right of privacy.

(GG) “Policy Period” means the period from the Inception Date of this Policy stated in ITEM
     2(a) of the Declarations to the Expiration Date of this Policy stated in ITEM 2(b) of the
     Declarations or to any earlier cancellation date of this Policy.

(HH) “Pollutant” means smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or
     gases, medical waste, waste materials (including materials which are intended to be or have
     been recycled, reconditioned or reclaimed) or other irritants, pollutants or contaminants.
     Pollutant does not include smoke, fumes, vapor or soot emanating from equipment used to
     heat or cool a building owned or operated by the N amed Insured.

(II)   “Products and Completed Operations Hazard” means Bodily Injury and Property
       Damage occurring away from premises owned or rented by the Insured and arising out of
       Insured Product or Insured Work, except:

       (1)    products that are still in the Insured’s physical possession; and



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       (2)    work that has not yet been completed or abandoned; provided that work will be
              deemed completed at the earliest of the following times:

              (a)     when that part of the work done at a job site has been put to its intended use
                      by any person or organization other than another contractor or
                      subcontractor working on the same project;

              (b)     when all of the work called for in the Insured’s contract has been
                      completed; or

              (c)     when all of the work to be done at a job site has been completed if the
                      Insured’s contract calls for work at more than one job site.

              Work that may need service, maintenance, correction, repair or replacement, but
              which is otherwise complete, will be treated as completed work.

       Products and Completed Operations Hazard does not include Bodily Injury or
       Property Damage arising out of:

       (i)    the transportation of property, unless the injury or damage arises out of a condition
              in or on a vehicle not owned or operated by the Insured, and that condition was
              created by the loading or unloading of that vehicle by an Insured; or

       (ii)   the existence of tools, uninstalled equipment, or abandoned or unused materials.

(JJ)   “Professional Services” means:

       (1)    Medical Services;

       (2)    Emergency Medical Treatment;

       (3)    the activities of an Insured as a member of a board or committee of the N amed
              Insured, or as a member of any committee of the medical or professional staff of
              the N amed Insured, when engaged in Utilization Review;

       (4)    the activities of an Insured as a member of a formal accreditation, standards review
              or similar professional board or committee, including executing the directives of
              such board or committee; or

       (5)    reviewing the quality of Medical Services or providing quality assurance on behalf
              of the N amed Insured.

(KK) “Professional Services Wrongful Act” means:

       (1)    any actual or alleged act, error or omission, or series of acts, errors or omissions, by
              an Insured in rendering, or failing to render, Professional Services;

       (2)    any actual or alleged act, error or omission, or series of acts, errors or omissions, by


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               any person other than an Insured in rendering, or failing to render, Medical
               Services, but only for an Insured’s vicarious liability with regard to such Medical
               Services. In no event shall this Policy provide coverage for the direct liability of any
               person other than an Insured for the rendering of, or failure to render, Medical
               Services;

       (3)     any actual or alleged violation by an Insured of the Rights of Residents; or

       (4)     any Beauticians and Barbers Professional Services Wrongful Act.

(LL)   “Property Damage” means:

       (1)     physical injury to tangible property, including all resulting loss of use of that
               property; provided, that such loss of use shall be deemed to have occurred at the
               time of the physical injury that caused it; or

       (2)     loss of use of tangible property that is not physically injured; provided, that such loss
               of use shall be deemed to occur at the time of the Occurrence that caused it.

(MM) “Related Claims” means:

       (1)     Claims for Wrongful Acts, or

       (2)     Claims for Bodily Injury, Property Damage, Advertising Injury or Personal
               Injury caused by an Occurrence,

       based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
       way involving the same or related facts, circumstances, situations, transactions, or events or
       the same or related series of facts, circumstances, situations, transactions, or events, whether
       related logically, causally, or in any other way, in any combination, whether or not involving
       more than one policy, practice, procedure or product, including any course of treatment, and
       whether or not deemed a continuous tort.

(NN) “Resident” means any person who resides at the N amed Insured’s facility, whether on a
     short-term or permanent basis.

(OO) “Retroactive Date” means the applicable date(s) set forth in ITEM 3 of the Declarations.

(PP)   “Rights of Residents” means:

       (1)     any right granted to a nursing home Resident under any state law regulating the
               N amed Insured’s business as a resident health facility; or

       (2)     the rights of Residents as included in the United States Department of Health and
               Welfare regulations governing participation of Intermediate Care Facilities or Skilled
               Nursing Facilities, regardless of whether the N amed Insured’s facility(ies) is/ are
               subject to such regulations.



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(QQ) “Utilization Review” means the process of evaluating the appropriateness or necessity of
     Medical Services provided or to be provided by an Insured. Utilization Review shall
     include prospective review of proposed Medical Services, concurrent review of ongoing
     Medical Services, and retrospective review of already rendered Medical Services.
     Utilization Review does not include services or activities performed in the administration
     or management of health care plans.

(RR)   “Volunteer” means a person who provides his or her services or labor to the N amed
       Insured, and whose activities are supervised and directed by the N amed Insured, but who
       is not compensated for such services and labor. No Employee or physician shall be
       considered a Volunteer.

(SS)   ‘Wrongful Act” means any Professional Services Wrongful Act or Employee Benefit
       Wrongful Act.

III.   EXCLUSION S

(A)    Exclusions Applicable to IN SURIN G AGREEMEN T (A):

       In addition to the EXCLUSIONS listed under (D) below, no coverage will be available
       under INSURING AGREEMENT (A), and the Underwriter will not pay any Loss or
       Defense Expenses, for any Claim based upon, arising out of, directly or indirectly resulting
       from, in consequence of, or in any way involving any actual or alleged:

       (1)    Professional Services Wrongful Act that happened before the Retroactive Date;

       (2)    Bodily Injury or Property Damage;

       (3)    Advertising Injury or Personal Injury, except to the extent that such injury relates
              to the rendering of, or failure to render, Professional Services;

       (4)    Employee Benefit Wrongful Act;

       (5)    rendering of, or failure to render, Medical Services by any Insured or any person
              for whom an Insured is vicariously liable:

              (a)     while the Insured’s or such person’s license to practice is or was not active;

              (b)     in violation of any restriction imposed or placed upon the Insured’s or such
                      person’s license; or

              (c)     if such Medical Services fall outside the scope of the Insured’s or such
                      person’s license; or

       (6)    rendering of, or failure to render, Medical Services by any person other than an
              Insured; except this EXCLUSION (A)(6) will not apply to an Insured’s vicarious
              liability with regard to such Medical Services.



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(B)   Exclusions Applicable to IN SURIN G AGREEMEN T (B):

      In addition to the EXCLUSIONS listed under (D) below, no coverage will be available
      under INSURING AGREEMENT (B), and the Underwriter will not pay any Loss or
      Defense Expenses, for any Claim based upon, arising out of, directly or indirectly resulting
      from, in consequence of, or in any way involving any actual or alleged:

      (1)    Occurrence that happened before the Retroactive Date;

      (2)    Professional Services Wrongful Act;

      (3)    injury to a Patient; except this EXCLUSION (B)(3) shall not apply to any Claim
             based upon, arising out of, directly or indirectly resulting from, in consequence of, or
             in any way involving: fire or lightning; windstorm or hail; explosion; riot, including
             riot attending a strike or civil commotion; aircraft or vehicles; smoke; vandalism or
             malicious mischief; sprinkler leakage; elevator malfunction; earthquake or flood; or
             structural collapse of a building;

      (4)    Bodily Injury, Property Damage, Personal Injury or Advertising Injury
             expected or intended from the standpoint of any Insured; except for Bodily Injury
             resulting from use of reasonable force to protect persons or property;

      (5)    Personal Injury or Advertising Injury arising out of oral or written publication of
             material:

             (a)     if done by or at the direction of an Insured with knowledge of its falsity; or

             (b)     whose first publication took place before the Retroactive Date. For
                     purposes of this EXCLUSION (B)(5), if such material was first published
                     prior to the Retroactive Date, it shall be immaterial whether such material
                     was re-published or allegedly caused injury during the Policy Period;

      (6)    Advertising Injury arising out of any false, incorrect or misleading description of
             the price of goods, products or services;

      (7)    Employee Benefit Wrongful Act;

      (8)    Bodily Injury or Property Damage for which an Insured is or may be held liable
             by reason of:

             (a)     causing or contributing to the intoxication of any person;

             (b)     the furnishing of alcoholic beverages to a person under the legal drinking age
                     or under the influence of alcohol; or

             (c)     any statute, ordinance or regulation relating to the sale, gift, distribution or
                     use of alcoholic beverages;



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             except this EXCLUSION (B)(8) will not apply if the Insured is not in the business
             of manufacturing, selling or distributing alcoholic beverages;

      (9)    Bodily Injury or Property Damage arising out of the ownership, maintenance, use,
             operation or entrustment to others of any aircraft, auto, watercraft, motor vehicle or
             semi-trailer or the loading or unloading thereof; except to the extent such injury
             arises from the loading or unloading of patients or relates to the maintenance or use
             of non-owned aircraft, watercraft or motor vehicles but only as excess cover over
             any other insurance, whether collectible or not;

      (10)   Bodily Injury or Property Damage arising out of:

             (a)     the transportation of Mobile Equipment by, in or on an auto owned or
                     operated by, or rented or loaned to, any Insured; or

             (b)     the use of Mobile Equipment in, or while in practice or preparation for,
                     any prearranged racing, speed, demolition or stunt activity;

      (11)   Bodily Injury or Property Damage arising from any consequence, direct or
             indirect, of war, invasion, hostilities (whether war be declared or not), civil war,
             rebellion, revolution, insurrection, military or usurped power, strike, riot or civil
             insurrection;

      (12)   Property Damage to:

             (a)     property the Insured owns, rents or occupies;

             (b)     premises sold, given away or abandoned by the N amed Insured, if the
                     Property Damage arises out of any part of those premises;

             (c)     property loaned to the Insured;

             (d)     personal property in the care, custody or control of the Insured;

             (e)     that particular part of real property on which the Insured, or any contractor
                     or subcontractor working directly or indirectly on the Insured’s behalf, is
                     performing operations, if the Property Damage arises out of those
                     operations;

             (f)     that particular part of any property that must be restored, repaired or
                     replaced because the Insured’s Work was incorrectly, poorly or improperly
                     performed on it; or

             (g)     property which is being transported by the Insured by automobile, Mobile
                     Equipment or team, including the loading and unloading thereof;

             EXCLUSION (B)(12)(a) above does not apply to any Claim for Property Damage
             resulting from any fire caused by the Insured’s negligence and occurring on


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             premises rented by the Insured or temporarily occupied by the Insured with the
             permission of the owner of such premises, up to the “Fire Damage” Limit of
             Liability set forth in ITEM 4.B. of the Declarations;

             EXCLUSION (B)(12)(b) above does not apply if the premises are Insured Work
             and were never occupied, rented or held for rental by the N amed Insured;

             EXCLUSIONS (B)(12)(c), (d), (e), and (f) above do not apply to liability assumed
             under a sidetrack agreement; and

             EXCLUSION (B)(12)(f) above does not apply to Property Damage included in the
             Products and Completed Operations Hazard;

      (13)   Property Damage to the Insured Product arising out of it or any part of it;

      (14)   Property Damage to Insured Work arising out of it or any part of it and included
             in the Products and Completed Operations Hazard; except if the damaged work
             or the work out of which the damage arises was performed on behalf of the N amed
             Insured by a subcontractor;

      (15)   Property Damage to Impaired Property or property that has not been physically
             injured, arising out of:

             (a)     defect, deficiency, inadequacy or dangerous condition in Insured Product or
                     Insured Work; or

             (b)     a delay or failure by an Insured or anyone acting on the N amed Insured’s
                     behalf to perform a contract or an agreement in accordance with its terms;
                     except this EXCLUSION (B)(15)(b) does not apply to the loss of use of
                     other property arising out of sudden and accidental physical injury to
                     Insured Work after it has been put to its intended use;

      (16)   damages claimed for any loss, cost or expense incurred by the N amed Insured or
             others for the loss of use, withdrawal, recall, inspection, repair, replacement,
             adjustment, removal or disposal of:

             (a)     Insured Product;

             (b)     Insured Work; or

             (c)     Impaired Property, if such product, work or property is withdrawn or
                     recalled from the market or from use by any person or organization because
                     of a known or suspected defect, deficiency, inadequacy or dangerous
                     condition in it;

      (17)   injury or damage arising in whole or in part, either directly or indirectly, out of
             asbestos, regardless whether the asbestos is:



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             (a)    airborne as a fiber or particle;

             (b)    contained in a product;

             (c)    carried or transmitted on clothing or by any other means; or

             (d)    contained in or a part of:

                    (i)     any building;

                    (ii)    any building material;

                    (iii)   any insulation product; or

                    (iv)    any component part of any building, building material or insulation
                            product;

      (18)   (a)     exposure to, or the manifestation, release, dispersal, seepage, migration,
                     discharge, appearance, presence, reproduction or growth of, Mold;

             (b)     fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate,
                     remove, contain, treat, detoxify, neutralize, rehabilitate, or in any other way
                     respond to or assess the effect(s) of Mold; or

             (c)     fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by
                     order, direction, request or agreement of any court, governmental agency,
                     regulatory body or civil, public or military authority in connection with or in
                     any way relating to Mold;

             except this EXCLUSION (B)(18) will not apply to any Claim based upon, arising
             out of, directly or indirectly resulting from, in consequence of, or in any way
             involving the Insured’s use of Mold in connection with the rendering of Medical
             Services, including medical research activities;

      (19)   (a)     exposure to, or generation, storage, manifestation, transportation, discharge,
                     emission, release, dispersal, seepage, migration, escape, appearance,
                     presence, reproduction, growth of, treatment, removal or disposal of, any
                     Pollutant, except where such exposure, generation, storage, manifestation,
                     transportation, discharge, emission, release, dispersal, seepage, migration,
                     escape, appearance, presence, reproduction, growth, treatment, removal or
                     disposal was caused by an unintentional fire or any heat, smoke or fumes
                     issuing from such unintentional fire;

             (b)     fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate,
                     remove, contain, treat, detoxify, neutralize or rehabilitate any Pollutant; or

             (c)     fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by
                     order, direction, request or agreement of any court, governmental agency,


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                      regulatory body or civil, public or military authority in connection with or in
                      any way relating to any Pollutant;

             except this EXCLUSION (B)(19) will not apply to any Claim for Bodily Injury or
             Property Damage caused by heat, smoke or fumes from a Hostile Fire;

      (20)   nuclear reaction, nuclear radiation, radioactive contamination, or radioactive
             substance; or

      (21)   terrorism, including but not limited to, any act(s) of force or violence:

             (a)     for political, religious or other ends;

             (b)     directed or intended to cause the overthrow or influence the government de
                     jure or de facto; or

             (c)     directed or intended to put the public or any part thereof in fear,

             committed by any person(s) acting alone, or in connection with or on behalf of any
             group or organization.

(C)   Exclusions Applicable to IN SURIN G AGREEMEN T (C):

      In addition to the Exclusions listed in EXCLUSION (D) below, no coverage will be
      available under INSURING AGREEMENT (C), and the Underwriter will not pay any Loss
      or Defense Expenses, for any Claim based upon, arising out of, directly or indirectly
      resulting from, in consequence of, or in any way involving any actual or alleged:

      (1)    Employee Benefit Wrongful Act that happened before the Retroactive Date;

      (2)    Advertising Injury, Bodily Injury, Personal Injury or Property Damage;

      (3)    failure of performance by any insurer;

      (4)    failure of securities or other investments to perform as represented or advice given
             to an Employee to participate or not to participate in stock subscription or other
             benefit programs; provided, that for purposes of this EXCLUSION (C)(4),
             “security” means a security of any nature whatsoever including, without limitation,
             stocks, shares, bonds, debentures, options, derivatives, partnership interests, limited
             liability company interests, any other form of debt or equity instrument and any
             other forms of ownership interest;

      (5)    insufficiency of funds to meet any obligations of Employee Benefit Programs; or

      (6)    Professional Services Wrongful Act.




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(D)   Exclusions Applicable to All IN SURIN G AGREEMEN TS:

      Except as otherwise expressly provided in this Policy, this Policy does not apply to, and the
      Underwriter will not pay Loss or Defense Expenses, for any Claim based upon, arising
      out of, directly or indirectly resulting from, in consequence of, or in any way involving any
      actual or alleged:

      (1)    act, error, omission, Occurrence or Wrongful Act if any Insured, on or before the
             Inception Date set forth in ITEM 2 of the Declarations, knew or reasonably could
             have foreseen that such act, error, omission, Occurrence or Wrongful Act might
             result in a Claim.

             If, however, this Policy is a renewal of one or more policies previously issued by the
             Underwriter to the First N amed Insured, and the coverage provided by the
             Underwriter to the First N amed Insured was in effect, without interruption, for the
             entire time between the inception date of the first such other policy and the Inception
             Date of this Policy, the reference in this EXCLUSION (D)(1) to the Inception Date will
             be deemed to refer instead to the inception date of the first policy under which the
             Underwriter began to provide the First N amed Insured with the continuous and
             uninterrupted coverage of which this Policy is a renewal;

      (2)    act, error, omission, Occurrence, Wrongful Act, event, suit or demand which was
             the subject of any notice given under any other policy of insurance or plan or program
             of self-insurance in effect prior to the Inception Date set forth in ITEM 2 of the
             Declarations;

      (3)    violation of any federal, state or local antitrust, restraint of trade, unfair competition,
             or price-fixing law, or any rules or regulations promulgated thereunder, or any
             involvement in any agreement or conspiracy to restrain trade, except for any Claim
             otherwise covered under INSURING AGREEMENT (A) arising out of the
             rendering of, or failure to render, Medical Services;

      (4)    dishonest, fraudulent, criminal or intentionally malicious act, error or omission by an
             Insured; any willful violation of law, statute, rule or regulation by an Insured; or the
             gaining of any profit, remuneration or advantage by an Insured to which such
             Insured was not legally entitled, including, but not limited to, health care fraud;
             provided, however, that no such act of one Insured will be imputed to any other
             Insured who was not aware of and did not participate in such act;

      (5)    obligation of an Insured pursuant to any workers’ compensation, unemployment
             compensation, disability benefits or similar law;

      (6)    obligation which an Insured has assumed under a written or oral contract or
             agreement; except this EXCLUSION (D)(6) will not apply to:

             (a)     liability an Insured would have had in the absence of such contract or
                     agreement; or



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             (b)     liability assumed by the N amed Insured under a Covered Contract;

      (7)    Claim made by or for the benefit of, or in the name or right of, one current or
             former Insured against another current or former Insured; except this
             EXCLUSION (D)(7) will not apply to any Claim for:

             (a)     the rendering of, or failure to render, Medical Services otherwise covered
                     under INSURING AGREEMENT (A) of this Policy; or

             (b)     any Employee Benefit Wrongful Act otherwise covered under INSURING
                     AGREEMENT (C) of this Policy;

      (8)    discrimination of any kind on any basis, including, but not limited to, discrimination,
             limitation, segregation or classification based on race, sex, marital status, ancestry,
             physical or mental handicaps, age, sexual preference, pregnancy, religion or other
             status that is protected under any applicable federal, state or local statute or
             ordinance affecting any present or former Employee or applicant for employment,
             including any discrimination in the rendering of, or failure to render, Professional
             Services;

      (9)    Employment Practices;

      (10)   liability of any “Acquired Entity” described in GENERAL CONDITION (F) or its
             individual Insureds acting in their capacity as such for any Claim, Occurrence,
             fact, circumstance, situation, transaction, event or Wrongful Act or series of
             Claims, Occurrences, facts, circumstances, situations, transactions, events or
             Wrongful Acts happening before the date such entity became an “Acquired Entity;”

      (11)   unauthorized or illegal use or release of confidential, private or proprietary
             information;

      (12)   liability of any individual acting as an independent contractor for an Insured; except
             this EXCLUSION (D)(12) will not apply to the Insured’s vicarious liability with
             regard to such independent contractor;

      (13)   infringement of any right of patent, service mark, trademark, copyright, title or
             slogan; except this EXCLUSION (D)(13) will not apply to liability of an Insured for
             Advertising Injury;

      (14)   evaluation of any provider of Medical Services by an Insured for purposes of
             selecting, employing, contracting with or credentialing such provider of Medical
             Services, if such Claim is made by or on behalf of any such provider of Medical
             Services; or

      (15)   violation of the Employee Retirement Income Security Act of 1974 (ERISA), the
             Fair Labor Standards Act (except the Equal Pay Act), the National Labor Relations
             Act, the Worker Adjustment and Retraining Notification Act, the Consolidated
             Omnibus Budget Reconciliation Act, the Occupational Safety and Health Act, all as


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             may be amended, or any similar federal, state or local statutory or common law, or
             any rules or regulations promulgated thereunder; except this EXCLUSION (D)(15)
             will not apply to any Claim arising out of the rendering of, or failure to render,
             Medical Services, which is otherwise covered under INSURING AGREEMENT
             (A) of this Policy and for which reimbursement for such services was received from
             health care plans covered by such statutes, rules or regulations.

IV.   GEN ERAL CON DITION S

(A)   Limits of Liability

      (1)    Insuring Agreement (A) – Professional Liability

             (a)    The “Each Claim” amount stated in ITEM 4.A. of the Declarations will be
                    the Underwriter’s maximum Limit of Liability for all Loss resulting from
                    each Claim or Related Claims for which this Policy provides coverage
                    under INSURING AGREEMENT (A).

             (b)    The “Aggregate for all Claims” amount stated in ITEM 4.A. of the
                    Declarations will be the Underwriter’s maximum Limit of Liability for all
                    Loss resulting from all Claims or Related Claims for which this Policy
                    provides coverage under INSURING AGREEMENT (A).

      (2)    Insuring Agreement (B) – General Liability

             (a)    The “Each Claim” amount stated in ITEM 4.B. of the Declarations will be
                    the Underwriter’s maximum Limit of Liability for all Loss resulting from
                    each Claim or Related Claims for which this Policy provides coverage
                    under INSURING AGREEMENT (B).

             (b)    The Underwriter’s Limits of Liability for Claims alleging Bodily Injury or
                    Property Damage included in the Products and Completed Operations
                    Hazard shall be equal to, part of, and not in addition to, the “Each Claim”
                    and “Aggregate for all Claims” amounts stated in ITEM 4.B. of the
                    Declarations.

             (c)    The “Fire Damage” amount stated in ITEM 4.B. of the Declarations will be
                    the Underwriter’s maximum aggregate Limit of Liability for all Claims for
                    Property Damage resulting from any and all fires caused by the Insured’s
                    negligence and occurring on premises rented to the Insured or temporarily
                    occupied by the Insured with the permission of the owner of such premises.
                    Such amount shall be part of, and not in addition to, the “Aggregate for all
                    Claims” amount stated in ITEM 4.B. of the Declarations.

             (d)    The “Aggregate for all Claims” amount stated in ITEM 4.B. of the
                    Declarations will be the Underwriter’s maximum Limit of Liability for all
                    Loss resulting from all Claims or Related Claims for which this Policy
                    provides coverage under INSURING AGREEMENT (B).


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      (3)   Insuring Agreement (C) – Employee Benefit Liability

            (a)    The “Each Claim” amount stated in ITEM 4.C. of the Declarations will be
                   the Underwriter’s maximum Limit of Liability for all Loss resulting from
                   each Claim or Related Claims for which this Policy provides coverage
                   under INSURING AGREEMENT (C).

            (b)    The “Aggregate for all Claims” amount stated in ITEM 4.C. of the
                   Declarations will be the Underwriter’s maximum Limit of Liability for all
                   Loss resulting from all Claims or Related Claims for which this Policy
                   provides coverage under INSURING AGREEMENT (C).

      (4)   Insuring Agreement (D) – Evacuation Expense

            (a)    The “Each Evacuation” amount stated in ITEM 4.D. of the Declarations will
                   be the Underwriter’s maximum Limit of Liability for all Loss resulting from
                   each Evacuation for which this Policy provides coverage under INSURING
                   AGREEMENT (D).

            (b)    The “Aggregate for all Evacuations” amount stated in ITEM 4.D. of the
                   Declarations will be the Underwriter’s maximum Limit of Liability for all
                   Loss resulting from all Evacuations for which this Policy provides coverage
                   under INSURING AGREEMENT (D).

      (5)   Insuring Agreement (E) – Legal/ Media Expense

            (a)    The “Each Legal Event” amount stated in ITEM 4.E. of the Declarations
                   will be the Underwriter’s maximum Limit of Liability for all Loss resulting
                   from each Legal Event for which this Policy provides coverage under
                   INSURING AGREEMENT (E).

            (b)    The “Aggregate for all Legal Events” amount stated in ITEM 4.E. of the
                   Declarations will be the Underwriter’s maximum Limit of Liability for all
                   Loss resulting from all Legal Events for which this Policy provides
                   coverage under INSURING AGREEMENT (E).

      (6)   Each Limit of Liability described in paragraphs (1) through (5) above shall apply
            regardless of the time of payment by the Underwriter, the number of persons or
            entities included within the definition of Insured, or the number of claimants, and
            regardless of whether such Claim or Related Claims is/ are first made during the
            Policy Period or during any Extended Reporting Period.

      (7)   (a)    The Insured shall be responsible for payment in full of the applicable
                   deductible or self-insured retention stated in ITEM 4 of the Declarations,
                   and the Underwriter’s obligation to pay Loss or Defense Expenses under
                   this Policy shall be excess of such deductible or self-insured retention;
                   provided, that no deductible or self-insured retention shall apply to Claims


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                    for Property Damage resulting from any fire caused by the Insured’s
                    negligence and occurring on premises rented to the Insured or temporarily
                    occupied by the Insured with the permission of the owner of such premises
                    and subject to the “Fire Damage” Limit of Liability set forth in ITEM 4.B. of
                    the Declarations. The applicable deductible or self-insured retention shall
                    apply to each Claim or Related Claims (subject to the applicable aggregate
                    deductible or self-insured retention amount, if any), and shall be eroded (or
                    exhausted) by the Insured’s payment of Loss or Defense Expenses. The
                    Underwriter shall have no obligation whatsoever, either to the Insured or
                    any other person or entity, to pay all or any portion of the applicable
                    deductible or self-insured retention on behalf of the Insured. The
                    Underwriter shall, however, at its sole discretion, have the right and option to
                    do so, in which event the Insured will repay the Underwriter any amounts so
                    paid.

             (b)    If a “Deductible” is selected under any Insuring Agreement in ITEM 4 of
                    the Declarations, any amounts paid within such deductible will reduce, and
                    may exhaust, the applicable Limits of Liability for such Insuring Agreement.

                    If a “Self-Insured Retention” is selected under any Insuring Agreement in
                    ITEM 4 of the Declarations, any amounts paid within such self-insured
                    retention will not reduce the applicable Limits of Liability for such Insuring
                    Agreement.

      (8)    All Insureds under this Policy share the Limits of Liability. In no event will the
             number of Insureds involved in a Claim or Related Claims increase the applicable
             Limit of Liability.

      (9)    In the event a Claim under this Policy involves more than one (1) Insuring
             Agreement hereunder, it is understood and agreed that only one (1) deductible or
             self-insured retention and one (1) Limit of Liability will apply to such Claim, which
             shall be the highest applicable “Each Claim” Limit of Liability stated in ITEM 4 of
             the Declarations and the deductible or self-insured retention corresponding to such
             Limit of Liability.

      (10)   If any Claim made against the Insureds gives rise to coverage both under this
             Policy and under any other policy or policies issued by the Underwriter or any
             affiliate of the Underwriter, the Underwriter’s and, if applicable, such affiliate’s
             maximum aggregate limit of liability under all such policies for all Loss in respect of
             such Claim will not exceed the largest single available limit of liability under any
             such policy, including this Policy. In no event will more than one policy issued by the
             Underwriter respond to a Claim.

(B)   Related Claims Deemed Single Claim:

      All Related Claims, whenever made, shall be deemed to be a single Claim, regardless of:

      (1)    the number of Related Claims;


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      (2)    the number or identity of claimants;

      (3)    the number or identity of Insureds involved or against whom Related Claims have
             been or could be made;

      (4)    whether the Related Claims are asserted in a class action or otherwise; and

      (5)    the number and timing of the Related Claims, even if the Related Claims
             comprising such single Claim were made in more than one Policy Period.

      All Related Claims will be treated as a single Claim made when the earliest of such
      Related Claims was first made, or when the earliest of such Related Claims is treated as
      having been made in accordance with GENERAL CONDITION (C)(2) below, whichever is
      earlier.

(C)   Reporting of Claims, Occurrences and Circumstances:

      (1)    If, during the Policy Period or any Extended Reporting Period, any Claim for a
             Wrongful Act or Occurrence under INSURING AGREEMENT (A), (B) or (C) is
             first made against an Insured, as a condition precedent to its right to any coverage
             under this Policy, the Insured shall give the Underwriter written notice of such
             Claim as soon as practicable thereafter, but in no event later than:

             (a)    thirty (30) days after the Expiration Date or earlier cancellation date of this
                    Policy; or

             (b)    the expiration of any Extended Reporting Period.

             Timely and sufficient notice by one Insured of a Claim shall be deemed timely and
             sufficient notice for all Insureds involved in the Claim. Such notice shall give full
             particulars of the Claim, including, but not limited to: a description of the Claim
             and Wrongful Act or Occurrence; the identity of the patient, all potential claimants
             and the health care provider(s) and any Insureds involved; a description of the
             injury or damages that resulted from such Wrongful Act or Occurrence;
             information on the time, place and nature of the Wrongful Act or Occurrence; and
             the manner in which the Insured first became aware of such Wrongful Act or
             Occurrence.

      (2)    If during the Policy Period an Insured first becomes aware of any Wrongful Act
             or Occurrence that may subsequently give rise to a Claim under INSURING
             AGREEMENT (A), (B) or (C) and:

             (a)    gives the Underwriter written notice of such Wrongful Act or Occurrence
                    with full particulars as soon as practicable thereafter but in any event before
                    the Expiration Date or earlier cancellation date of this Policy; and

             (b)    requests coverage under INSURING AGREEMENT (A), (B) or (C) of this


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                   Policy for any Claim subsequently arising from such Wrongful Act or
                   Occurrence;

            then any Claim not otherwise excluded by this Policy subsequently made against the
            Insured arising out of such Wrongful Act or Occurrence shall be treated as if it
            had been first made during the Policy Period. Full particulars shall include, but are
            not limited to: a description of the Wrongful Act or Occurrence; the identity of the
            patient, all potential claimants and the health care provider(s) and any Insureds
            involved; information on the time, place and nature of the Wrongful Act or
            Occurrence; the manner in which the Insured first became aware of such
            Wrongful Act or Occurrence; and the reasons the Insured believes the Wrongful
            Act or Occurrence is likely to result in a Claim.

      (3)   As a condition precedent to its right to any reimbursement under INSURING
            AGREEMENT (D) or (E) of this Policy, the N amed Insured shall provide the
            Underwriter written proof of payment of Evacuation Expense or Legal/ Media
            Expense during the Policy Period, but in no event later than thirty (30) days after
            the Expiration Date or earlier cancellation date of this Policy.

(D)   Defense and Settlement:

      (1)   No Insured shall, except at its own cost, incur any expense, make any payment,
            admit liability for, assume any obligation, or settle any Claim without the
            Underwriter’s written consent. With respect to any Claim, the Underwriter will have
            the right to investigate, direct the defense, and conduct settlement negotiations it
            deems appropriate. The Underwriter may make any settlement of any Claim which it
            deems appropriate.

      (2)   The Underwriter will have no obligation to pay Loss or Defense Expenses, or
            continue to direct the defense of any Insured, after the applicable Limit of Liability
            has been exhausted by the payment of Loss.

      (3)   If both Loss covered by this Policy and Loss not covered by this Policy are
            incurred, either because a Claim made against the Insureds includes both covered
            and uncovered matters, or because a Claim is made against both Insureds and
            others not included within the definition of “Insured” set forth in DEFINITION
            (T) above, the Insureds and the Underwriter agree to use their best efforts to
            determine a fair and proper allocation of all such amounts. The Underwriter’s
            obligation to pay Loss under this Policy shall relate only to those sums allocated to
            the Insureds. In making such determination, the parties shall take into account the
            relative legal and financial exposures of, and relative benefits obtained in connection
            with the defense and/ or settlement of the Claim by the Insureds and others. In the
            event that the Underwriter and the Insureds do not reach an agreement with respect
            to an allocation, then the Underwriter shall be obligated to make an interim payment
            of the amount of Loss which the parties agree is not in dispute until a final amount
            is agreed upon or determined pursuant to the provisions of this Policy and applicable
            law.



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(E)   Territory:

      This Policy applies to Wrongful Acts or Occurrences taking place anywhere in the world.
      Claim or suit must be made against an Insured, however, in the United States of America,
      including its territories or possessions, Puerto Rico, or Canada.

(F)   Mergers, Acquisitions or N ewly Created Entities:

      If, during the Policy Period, the N amed Insured acquires or creates another entity or
      subsidiary or becomes a member of a joint venture or partner in a partnership, or if the
      N amed Insured merges or consolidates with another entity such that the N amed Insured
      is the surviving entity (any such acquired, created, merged or consolidated entity an “Acquired
      Entity”), then for a period of sixty (60) days after the effective date of the transaction, such
      Acquired Entity shall be included within the term “Named Insured” with respect to
      Wrongful Acts or Occurrences happening after the effective date of the transaction. Upon
      the expiration of the sixty (60) day period, there will be no coverage under this Policy for any
      Claim in any way involving the Acquired Entity or its Insureds unless within such sixty (60)
      day period:

      (1)     the N amed Insured gives the Underwriter such information regarding the transaction
              as the Underwriter requests; and

      (2)     the Underwriter has specifically agreed by written endorsement to this Policy to provide
              coverage with respect to such Acquired Entity and its Insureds, and the N amed
              Insured accepts any terms, conditions, exclusions or limitations, including payment of
              additional premium, as the Underwriter, in its sole discretion, imposes in connection
              with the transaction.

      For purposes of this GENERAL CONDITION (F), “subsidiary” means any entity for
      which the N amed Insured owns or possesses fifty percent (50%) of the issued and
      outstanding capital stock, or has or controls the right to elect or appoint more than fifty
      percent (50%) of the directors or trustees.

(G)   Sales or Dissolution of Insured Entities; Cessation of Business:

      If, during the Policy Period:

      (1)     the N amed Insured is dissolved, sold, acquired by, merged into, or consolidated
              with another entity such that the N amed Insured is not the surviving entity; or

      (2)     any person, entity, or affiliated group of persons or entities obtains:

              (a)     ownership or possession of fifty percent (50%) of the issued and outstanding
                      capital stock of the N amed Insured, or;

              (b)     the right to elect or appoint more than fifty percent (50%) of the N amed
                      Insured’s directors or trustees; or



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      (3)    the N amed Insured ceases to do business for any reason;

      (any of which events is referred to as a “Transaction” in this GENERAL CONDITION
      (G)) coverage under this Policy shall continue in full force and effect until the Expiration
      Date or any earlier cancellation date, but this Policy shall apply only to Occurrences or
      Wrongful Acts happening before the effective date of such Transaction. This Policy will not
      apply to, and the Underwriter will not pay any Loss or Defense Expenses for, any Claim
      based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
      way involving, any Wrongful Act or Occurrence happening on or after the effective date of
      such Transaction.

(H)   Extended Reporting Period for IN SURIN G AGREEMEN TS (A), (B) and (C):

      If this Policy is canceled for any reason other than fraud, misrepresentation or non-payment of
      premium or is not renewed by the Underwriter or the First N amed Insured, an additional
      period of time during which Claims made under INSURING AGREEMENTS (A), (B) and
      (C) of this Policy may be reported (an “Extended Reporting Period”) shall be made available as
      described in this GENERAL CONDITION (H), but any such Extended Reporting Period
      shall apply only to Claims for Wrongful Acts or Occurrences happening before the effective
      date of such cancellation or non-renewal (the “Termination Date”) or the date of any
      conversion of coverage under GENERAL CONDITION (G), whichever is earlier. No
      Extended Reporting Period shall in any way increase the Underwriter’s Limits of Liability as
      stated in ITEM 4 of the Declarations, and the Underwriter’s Limit of Liability for Claims made
      during any Extended Reporting Period shall be part of, and not in addition to, the Limits of
      Liability stated in ITEM 4 of the Declarations. The Extended Reporting Period will apply as
      follows:

      (1)    An Extended Reporting Period of sixty (60) days, beginning as of the Termination
             Date, will apply automatically and requires no additional premium; provided, that such
             Extended Reporting Period will remain in effect only as long as no other policy of
             insurance is in effect that would apply to any Claim made during such Extended
             Reporting Period.

      (2)    In order to purchase an additional Extended Reporting Period, the First N amed
             Insured must (a) provide written notice to the Underwriter requesting such additional
             Extended Reporting Period no later than thirty (30) days after the Termination Date,
             and (b) pay any additional premium required by the Underwriter promptly when due.
             Such additional premium shall be deemed fully earned upon inception of such
             Extended Reporting Period.

      If no written request to purchase an additional Extended Reporting Period is made by the First
      N amed Insured as described in GENERAL CONDITION (H)(2) above, or if the additional
      premium for any such Extended Reporting Period is not paid promptly when due, there will be
      no right to purchase an additional Extended Reporting Period at any later time.

(I)   Cancellation; N on-Renewal:

      (1)    The Underwriter may cancel this Policy by mailing written notice to the First


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              N amed Insured at the last known address shown on the Declarations stating when,
              not less than sixty (60) days thereafter (or such longer period of time as required by
              applicable law), such cancellation shall be effective; except that, in the event of
              cancellation for non-payment of premium, the Underwriter may make the
              cancellation effective upon notice of only ten (10) days (or such longer period of
              time as required by applicable law).

      (2)     Except as set forth in GENERAL CONDITION (M), the First N amed Insured
              may cancel this Policy by mailing the Underwriter written notice stating when, not
              later than the Expiration Date set forth in ITEM 2(b) of the Declarations, such
              cancellation will be effective. In such event, and subject at all times to GENERAL
              CONDITION (N), the earned premium will be computed in accordance with the
              customary short rate table and procedure. Premium adjustment may be made either
              at the time cancellation is effective or as soon as practicable after cancellation
              becomes effective, but payment or tender of unearned premium is not a condition of
              cancellation.

      (3)     The Underwriter will not be required to renew this Policy upon its expiration.

(J)   Assistance and Cooperation:

      In the event of a Claim, the Insured shall provide the Underwriter with all information,
      assistance and cooperation that the Underwriter reasonably requests. At the Underwriter’s
      request, the Insured shall assist in: investigating, defending and settling Claims; enforcing
      any right of contribution or indemnity against another who may be liable to any Insured; the
      conduct of actions, suits, appeals or other proceedings, including, but not limited to,
      attending trials, hearings and depositions; securing and giving evidence; and obtaining the
      attendance of witnesses.

(K)   Subrogation:

      In the event of any payment hereunder, the Underwriter shall be subrogated to the extent of
      any payment to all of the rights of recovery of the Insured. The Insured shall execute all
      papers and do everything necessary to secure such rights, including the execution of any
      documents necessary to enable the Underwriter effectively to bring suit in its name. The
      Insured shall do nothing that may prejudice the Underwriter’s position or potential or actual
      rights of recovery. The obligations of the Insured under this GENERAL CONDITION
      (K) shall survive the expiration or termination of the Policy.

(L)   Other Insurance and Risk Transfer Arrangements:

      Any Loss or Defense Expenses resulting from any Claim insured under any other
      insurance or self-insurance policy or program or risk transfer instrument, including, but not
      limited to, self-insured retentions, deductibles, fronting arrangements, professional liability
      policies covering any Insured, or other alternative arrangements which apply to the Loss or
      Defense Expenses shall be paid first by those instruments, policies or other arrangements.
      It is the intent of this Policy to apply only to Loss or Defense Expenses that are more than
      the total limit of all deductibles, limits of liability, self-insured amounts or other insurance or


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       risk transfer arrangements, whether primary, contributory, excess, contingent, fronting or
       otherwise and whether or not collectible. These provisions do not apply to other insurance
       policies or risk transfer arrangements written as specific umbrella or excess insurance over
       the applicable Limits of Liability of this Policy. This Policy shall not be subject to the terms
       of any other policy of insurance or plan or program of self-insurance; and in no event will
       the Underwriter pay more than the applicable Limits of Liability set forth in ITEM 4 of the
       Declarations.

(M)    Exhaustion:

       If the Underwriter’s applicable Aggregate Limit of Liability for any Insuring Agreement, as
       set forth in ITEM 4 of the Declarations, is exhausted by the payment of Loss, all obligations
       of the Underwriter under such Insuring Agreement will be completely fulfilled and
       exhausted, including any obligation to pay Defense Expenses or to continue to direct the
       defense of any Insured, and the Underwriter will have no further obligations of any kind or
       nature whatsoever under such Insuring Agreement.

       If all of the Underwriter’s applicable Limits of Liability are exhausted by the payment of
       Loss, the premium will be fully earned, all obligations of the Underwriter under this Policy
       will be completely fulfilled and exhausted, including any obligation to pay Defense
       Expenses or to continue to direct the defense of any Insured, and the Underwriter will
       have no further obligations of any kind or nature whatsoever under this Policy.

(N )   Minimum Earned Premium:

       The percentage set forth in ITEM 5.B. of the Declarations is the percentage of the Policy
       Premium set forth in ITEM 5.A. of the Declarations that shall be deemed fully earned as of
       the Inception Date set forth in ITEM 2 of the Declarations.

(O)    Authorization and N otices:

       The First N amed Insured will act on behalf of all Insureds with respect to: the giving or
       receiving of any notices under this Policy; the payment of premiums to, and receiving of
       return premiums from, the Underwriter; the receiving and acceptance of any endorsements
       issued to form a part of this Policy; and the exercising or declining to exercise any Extended
       Reporting Period.

(P)    Conformance:

       Any terms of this Policy that are in conflict with the laws or regulations of the state in which
       this Policy is issued are amended to conform with such laws or regulations.

(Q)    Representation; Incorporation of Application; Entire Agreement:

       The Insureds represent that the particulars and statements contained in the Application
       attached to this Policy are true, accurate and complete and agree that:

       (1)     this Policy is issued and continued in force by the Underwriter in reliance upon the


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             truth of such representation;

      (2)    those particulars and statements are the basis of this Policy; and

      (3)    the Application and those particulars and statements are incorporated in and form a
             part of this Policy.

      No knowledge or information possessed by any Insured shall be imputed to any other
      Insured, except for material facts or information known to the person or persons who
      signed the Application. In the event of any material untruth, misrepresentation or omission
      in connection with any of the particulars or statements in the Application, this Policy shall be
      void with respect to any Insured who knew of such untruth, misrepresentation or omission
      or to whom such knowledge is imputed.

(R)   N o Action against Underwriter:

      (1)    No action shall be taken against the Underwriter by any Insured unless, as
             conditions precedent thereto, the Insured has fully complied with all of the terms of
             this Policy and the amount of the Insured’s obligation to pay has been finally
             determined either by judgment against the Insured after adjudicatory proceedings or
             by written agreement of the Insured, the claimant and the Underwriter.

      (2)    No individual or entity shall have any right under this Policy to join the Underwriter
             as a party to any Claim to determine the liability of any Insured; nor shall the
             Underwriter be impleaded by an Insured or his, her, or its legal representative in any
             such Claim.

(S)   N otice:

      (1)    Notice to any Insured shall be sent to the First N amed Insured at the address
             designated in ITEM 1 of the Declarations.

      (2)    Notice to the Underwriter shall be sent to the address designated in ITEM 6 of the
             Declarations.

(T)   Changes:

      Notice to or knowledge possessed by any agent or other person acting on behalf of the
      Underwriter shall not effect a waiver or change in any part of this Policy or prevent or estop
      the Underwriter from asserting any right(s) under this Policy. This Policy can only be altered,
      waived, or changed by written endorsement issued to form a part of this Policy.

(U)   Insolvency of Insured:

      The Underwriter will not be relieved of any of its obligations under this Policy by the
      bankruptcy or insolvency of any Insured or his/ her/ its estate.




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(V)   Inspections and Surveys:

      The Underwriter or its duly authorized agent has the right but is not obliged to:

      (1)    make inspections and surveys of the N amed Insured’s premises and operations at
             any time;

      (2)    provide the Insured with reports on the conditions found;

      (3)    recommend changes;

      (4)    conduct loss control and prevention activity.

      Any inspections, surveys, reports, or recommendations relate only to insurability and the
      premium to be charged.

      The Underwriter does not:

      (a)    make safety inspections;

      (b)    undertake to perform the duty of any entity to provide for the health or safety of
             workers or the public; nor

      (c)    warrant that conditions:

             (i)     are safe or healthy; or

             (ii)    comply with laws, regulations or codes.

(W)   Examination of Books and Records:

      The Underwriter may examine and audit the books and records of the Insured as they relate
      to this Policy.

(X)   Service of Suit:

      Pursuant to any statute of any state, territory or district of the United States which makes
      provision therefor, the Underwriter hereby designates the Superintendent, Commissioner or
      Director of Insurance or other officer specified for that purpose by statute, as its true and
      lawful attorney upon whom may be served any lawful process in any action, suit or
      proceeding instituted by or on behalf of the Insured, or any beneficiary hereunder, arising
      out of this contract of insurance.

(Y)   Assignment:

      No assignment of interest under this Policy shall bind the Underwriter without its written
      consent issued as a written endorsement to form a part of this Policy.



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(Z)    Entire Agreement:

       The Insureds agree that this Policy, including the Application and any endorsements,
       constitutes the entire agreement between them and the Underwriter or any of its agents
       relating to this insurance.

(AA) Headings:
       The descriptions in the headings and sub-headings of this Policy are solely for convenience,
       and form no part of the terms and conditions of coverage.


In witness whereof the Underwriter has caused this Policy to be executed by its authorized
officers.




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